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AKIN GUMP STRAUSS HAUER & FELD LLP
Ira S. Dizengoff
Arik Preis
Mitchell Hurley
Joseph L. Sorkin
Sara L. Brauner
One Bryant Park
New York, New York 10036
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Counsel to the Official Committee of Unsecured
Creditors of Purdue Pharma L.P., et al.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             )
    In re:                                                   )        Chapter 11
                                                             )
    PURDUE PHARMA L.P., et al.,1                             )        Case No. 19-23649 (RDD)
                                                             )
                                     Debtors.                )        (Jointly Administered)
                                                             )


               DECLARATION OF ARIK PREIS DATED NOVEMBER 18, 2020




1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.


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        Under 28 U.S.C. § 1746, I, Arik Preis,2 declare under the penalty of perjury that the

following is true and correct to the best of my knowledge, information, and belief:

        1.       This declaration (“Declaration”) is submitted in support of the Official Committee

of Unsecured Creditors of Purdue Pharma, L.P. et al.’s Motions (defined below) and two reply

briefs filed contemporaneously with this Declaration entitled (1) Official Committee of Unsecured

Creditors’ Reply in Support of Its Motion to Compel Production of Purportedly Privileged

Documents, or for In Camera Review, Based on Good Cause, Crime Fraud, and At Issue

Exceptions to Claims of Privilege (the “Exceptions Reply”)3; and (2) Official Committee of

Unsecured Creditors’ Reply in Support of Motion to Compel Production of Purportedly Privileged

Documents, or for In Camera Review, Based on Failure of the Sacklers to Demonstrate Documents

Identified on Logs are Privileged (the “General Challenges Reply,”4 and, together with the

Exceptions Reply, the “Replies”).5

        2.       I am an attorney in good standing admitted to practice in the State of New York,

and I am a partner at the law firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”). I

was admitted to the New York State Bar in 2001 and have been practicing law in the area of

bankruptcy and financial restructuring since that time. I make this Declaration based on my own

personal knowledge and belief, and upon documents and information available to me as counsel

to the Official Committee of Unsecured Creditors of Purdue Pharma, L.P. et al (the “UCC”).


2
  My legal name is Erik Preis but for my entire life I have utilized the name Arik and not Erik.
3
  For the sake of clarity, the Exceptions Reply is submitted in support of the UCC’s Motion to Compel Production of
Purportedly Privileged Documents, or for In Camera Review, Based on Good Cause, Crime Fraud, and At Issue
Exceptions to Claims of Privilege [ECF No. 1753] (the “Exceptions Motion”).
4
  For the sake of clarity, the Challenges Reply is submitted in support of the UCC’s Motion to Compel Production of
Purportedly Privileged Documents, or for In Camera Review, Based on Failure of the Sacklers and the Debtors to
Demonstrate Documents Identified on Logs are Privileged [ECF No. 1752] (the “General Challenges Motion”). The
Exceptions Motion and General Challenges Motion are collectively referred to herein as the “Motions.”
5
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Replies, which the
UCC has endeavored to use consistently with definitions used in the Motions.


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       3.      The UCC files its Replies in accordance with the briefing schedule provided in the

Stipulation and Agreed Order Regarding Amended Briefing Schedule in the Chapter 11 Cases,

executed by the Debtors, the Sacklers, the NCSG, the AHC, and the UCC, which was filed and so

ordered by the Court on October 26, 2020 [ECF No. 1848]. After filing its Motions, the UCC has

continued to meet and confer with counsel for the Side A and Side B Sacklers (collectively, the

“Sacklers”) and the Debtors (collectively with the Sacklers, the “Withholding Parties”) in a good

faith effort to resolve by agreement the issues raised by the Motions without the intervention of

the Court. While the parties informally resolved some of the UCC’s challenges, they could not

resolve all the issues as described in the Replies.

       4.      This Declaration attaches and describes documents and testimony relied upon in

the Replies. Certain exhibits attached hereto have been designated as Confidential, Highly

Confidential, Professional’s Eyes Only, or Outside Professional’s Eyes Only, by one or more

parties to this proceeding and are redacted pursuant to the Third Amended Protective Order entered

in these proceedings [ECF No. 1935]. The UCC also files certain correspondence with the

Withholding Parties under seal in an abundance of caution in order to accommodate certain

Withholding Parties’ prior positions concerning the confidentiality of email address and other

information that may be contained therein. By filing in this way, the UCC does not intend to

suggest that it agrees the information is or ought to be confidential.

       5.      Attached hereto as Exhibit A is a true and correct copy of an excel workbook

containing the entries on Side A’s privilege log that the UCC is challenging in the Motions and

Replies, separated by category based on the tabbed worksheets in the excel workbook. For the

Exceptions Motion and Reply, the privilege entries are a non-exhaustive, illustrative list of the

Challenged Documents (as defined in the Exceptions Motion) that the UCC believes fit within the




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categories of privileged documents the UCC seeks to compel. This Exhibit A is intended to

supersede the Exhibit A attached to the Declaration of Mitchell Hurley Dated September 29, 2020,

originally filed in support of the Motions.

       6.      Attached hereto as Exhibit B is a true and correct copy of an excel workbook

containing the entries on Side B’s privilege log that the UCC is challenging in the Motions and

Replies, separated by category based on the tabbed worksheets in the excel workbook. For the

Exceptions Motion and Reply, the privilege entries are a non-exhaustive, illustrative list of the

Challenged Documents (as defined in the Exceptions Motion) that the UCC believes fit within the

categories of privileged documents the UCC seeks to compel. This Exhibit B is intended to

supersede the Exhibit B attached to the Declaration of Mitchell Hurley Dated September 29, 2020,

originally filed in support of the Motions.

       7.      Attached hereto as Exhibit C is a list of document control numbers corresponding

to certain Privilege Log entries for which the UCC requests in camera review. The list is organized

categorically and by Withholding Party. The document control numbers in Exhibit C are presented

as a limited sampling of materials that the UCC believes would enable the Court to make a

reasoned determination whether further in camera review or other relief is appropriate respecting

categories of documents identified in the General Challenges Reply.

       8.      Attached hereto as Exhibit 110 is a true and correct copy of a letter from Mitchell

Hurley to Alexander Lees, dated September 25, 2020.

       9.      Attached hereto as Exhibit 111 is a true and correct copy of a letter from Mitchell

Hurley to Alexander Lees, dated October 12, 2020.

       10.     Attached hereto as Exhibit 112 is a true and correct copy of a letter from Mitchell

Hurley to Jasmine Ball, dated October 14, 2020.




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       11.    Attached hereto as Exhibit 113 is a true and correct copy of an email from Elizabeth

Scott to Jasmine Ball, dated October 20, 2020.

       12.    Attached hereto as Exhibit 114 is a true and correct copy of an email from Elizabeth

Scott to Jasmine Ball, dated October 23, 2020.

       13.    Attached hereto as Exhibit 115 is a true and correct copy of an email from Elizabeth

Scott to Jasmine Ball, dated October 29, 2020.

       14.    Attached hereto as Exhibit 116 is a true and correct copy of a letter from Alexander

Lees to Mitchell Hurley, dated September 28, 2020.

       15.    Attached hereto as Exhibit 117 is a true and correct copy of a letter from Alexander

Lees to Mitchell Hurley, dated October 19, 2020.

       16.    Exhibit 118 to this Declaration has been intentionally omitted.

       17.    Exhibit 119 to this Declaration has been intentionally omitted.

       18.    Exhibit 120 to this Declaration has been intentionally omitted.

       19.    Exhibit 121 to this Declaration has been intentionally omitted.

       20.    Attached hereto as Exhibit 122 is a true and correct copy of an email from Stuart

Baker dated November 1, 2018, which was produced to the UCC under the Bates number

MSF00470861.

       21.    Attached hereto as Exhibit 123 is a true and correct copy of an email exchange

between Mortimer Sackler and Antony Mattessich, dated April 24, 2017, which was produced to

the UCC under the Bates number MSF00575712.

       22.    Attached hereto as Exhibit 124 is a true and correct copy of an email from Stuart

Baker to Richard Sackler, dated November 22, 2013, which was produced to the UCC under the

Bates number RSF_OLK00070002.




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       23.    Attached hereto as Exhibit 125 is a true and correct copy of a July 27, 2011 email

from Cecil Pickett forwarding a Stuart Baker email with attachment titled “Proposed 2012

Calendar of Meetings and Board Calls,” which was produced to the UCC under the Bates numbers

PPLPUCC9002657293-94.

       24.    Attached hereto as Exhibit 126 is a true and correct copy of an email chain dated

June 21, 2019, which was produced to the UCC under the Bates number MSF00997606.

       25.    Attached hereto as Exhibit 127 is a true and correct copy of an excel spreadsheet

containing text messages including Dame Theresa Sackler and others, which was produced to the

UCC under the Bates number MSF90089695.

       26.    Attached hereto as Exhibit 128 is a true and correct copy of an email from Paul

Gallagher, Senior Managing Director at Teneo, dated May 20, 2019, which was produced to the

UCC under the Bates number PPLPUCC002663187.

       27.    Attached hereto as Exhibit 129 is a true and correct copy of an email from Paul

Gallagher, Senior Managing Director at Teneo, dated May 20, 2019, which was produced to the

UCC under the Bates number PPLPUCC002664919.

       28.    Attached hereto as Exhibit 130 is a true and correct copy of an email from

Mortimer Sackler dated May 21, 2019, which was produced to the UCC under the Bates number

PPLPUCC002662986.

       29.    Exhibit 131 to this Declaration has been intentionally omitted.

       30.    Attached hereto as Exhibit 132 is a true and correct copy of an email from David

Lundie to John Donovan, dated February 8, 2012, which was produced to the UCC under the Bates

number PPLPC036000177151.




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       31.    Attached hereto as Exhibit 133 is a true and correct copy of a September 2010

email chain which was produced to the UCC under the Bates number PPLPUCC002449097.

       32.    Attached hereto as Exhibit 134 is a true and correct copy of an email from Michael

Friedman dated March 5, 2006, which was produced to the UCC under the Bates number

PPLPUCC002603602.

       33.    Attached hereto as Exhibit 135 is a true and correct copy of a February 15, 2011

email from Jonathan Sackler attaching Purdue board and management discussion materials, which

was produced to the UCC under the Bates number PPLPUCC9003800123.

       34.    Attached hereto as Exhibit 136 is a true and correct copy of excerpts from the

minutes of a March 4, 2003 meeting of the board of directors of Purdue Pharma Inc., which was

produced to the UCC under the Bates number PPLPUCC500647319.

       35.    Attached hereto as Exhibit 137 is a true and correct copy of a May 5, 2017 email

from Craig Landau attaching a Purdue diagnostic and forward plan, which was produced to the

UCC under the Bates number PWG004670879.

       36.    Attached hereto as Exhibit 138 is a true and correct copy of a February 2007 email

chain which was produced to the UCC under the Bates number PPLPC061000013858.

       37.    Attached hereto as Exhibit 139 is a true and correct copy of a March 2008 email

chain which was produced to the UCC under the Bates number PPLPC012000174476.

       38.    Attached hereto as Exhibit 140 is a true and correct copy of an February 2012 email

chain which was produced to the UCC under the Bates number PPLPUCC9002981007.

       39.    Attached hereto as Exhibit 141 is a true and correct copy of a November 2013

email chain which was produced to the UCC under the Bates number SideA00429689.




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       40.   Attached hereto as Exhibit 142 is a true and correct copy of a June 2015 email

chain which was produced to the UCC under the Bates number PPLPUCC9004448656.

       41.   Attached hereto as Exhibit 143 is a true and correct copy of excerpts from a

February 11, 2010 letter from Amy D’Agostino to Cecil Pickett attaching executed Director

Agreements, which was produced to the UCC under the Bates number CP0000001.

       42.   Attached hereto as Exhibit 144 is a true and correct copy of Executive Committee

Meeting Notes & Actions, dated September 21, 2011, which was produced to the UCC under the

Bates number RSF_OLK00035017.

       43.   Attached hereto as Exhibit 145 is a true and correct copy of an April 2012 email

chain, which was produced to the UCC under the Bates number PPLPC012000372585.

       44.   Attached hereto as Exhibit 146 is a true and correct copy of a September 11, 2013

memorandum from McKinsey to John Stewart and Russ Gasdia, which was produced to the UCC

under the Bates number PPLPC012000441614.

       45.   Attached hereto as Exhibit 147 is a true and correct copy of an August 15, 2013

email from Richard Sackler, which was produced to the UCC under the Bates number

PPLPUCC9002391802.

       46.   Attached hereto as Exhibit 148 is a true and correct copy of an email from Stuart

Baker dated August 21, 2013, which was produced to the UCC under the Bates number

PPLPC045000016165.

       47.   Attached hereto as Exhibit 149 is a true and correct copy of an April 6, 2014 email

from Edward Mahony, which was produced to the UCC under the Bates number

PPLPC012000471641.




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       48.    Attached hereto as Exhibit 150 is a true and correct copy of excerpts from a

presentation titled: Changes in prescriptions of OxyContin and OPANA ER after introduction of

tamper resistant formulations among potentially problematic and comparator prescribers, which

was produced to the UCC under the Bates number PPLPC019000826509.

       49.    Attached hereto as Exhibit 151 is a true and correct copy of a May 21, 2007 email

and attached May 2007 calendar printout, which was produced to the UCC under the Bates

numbers PPLPUCC001531749-50.

       50.    Attached hereto as Exhibit 152 is a true and correct copy of excerpts from an

August 2013 email from Donna Condon attaching an August 8, 2013 memorandum from

McKinsey to John Stewart and Russ Gasdia, which was produced to the UCC under the Bates

number MDSF00986947.

       51.    Attached hereto as Exhibit 153 is a true and correct copy of a June 2014 email

chain, which was produced to the UCC under the Bates number PPLPC045000017003.

       52.    Attached hereto as Exhibit 154 is a true and correct copy of excerpts from a Purdue

OxyContin Annual Marketing Plan, dated October 6, 2013, which was produced to the UCC under

the Bates number PAK000062549.

       53.    Attached hereto as Exhibit 155 is a true and correct copy of excerpts from an

August 15, 2013 Purdue board meeting agenda and attached August 8, 2013 memorandum from

McKinsey which was produced to the UCC under the Bates number PPLP004409890.

       54.    Attached hereto as Exhibit 156 is a true and correct copy of an October 8, 2011

Google news alert, which was produced to the UCC under the Bates number RSF00683542.

       55.    Attached hereto as Exhibit 157 is a true and correct copy of a November 1, 2013

Google news alert, which was produced to the UCC under the Bates number RSF_OLK00008429.




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       56.    Attached hereto as Exhibit 158 is a true and correct copy of an April 18, 2015

Google news alert, which was produced to the UCC under the Bates number MDSF00514742.

       57.    Attached hereto as Exhibit 159 is a true and correct copy of a July 2016 email

chain, which was produced to the UCC under the Bates number PWG004484978.

       58.    Attached hereto as Exhibit 160 is a true and correct copy of a January-February

2008 email chain, which was produced to the UCC under the Bates number SideA00391976.

       59.    Attached hereto as Exhibit 161 is a true and correct copy of a February 2008 email

chain, which was produced to the UCC under the Bates number PPLPC042000011810.

       60.    Attached hereto as Exhibit 162 is a true and correct copy of an October 2014 email

chain, which was produced to the UCC under the Bates number PPLPUCC000335135.

       61.    Attached hereto as Exhibit 163 is a true and correct copy of document titled “CEO

Considerations,” which was produced to the UCC under the Bates number PPLPUCC001662356.

       62.    Attached hereto as Exhibit 164 is a true and correct copy of excerpts from a Dec.

6, 2019 “Presentation of Defenses (‘Side A’),” which was provided to the UCC by counsel for

Side A.

       63.    Attached hereto as Exhibit 165 is a true and correct copy of excerpts from an

October 8, 2010 Purdue news summary, which was produced to the UCC under the Bates number

PPLPC061000060749.

       64.    Attached hereto as Exhibit 166 is a true and correct copy of an April 2012 email

chain, which was produced to the UCC under the Bates number MARSH-PURDUE-001112.

       65.    Attached hereto as Exhibit 167 is a true and correct copy of a May 11, 2012 email

and attached presentation and timeline, which was produced to the UCC under the Bates number

MARSH-PURDUE-001768.




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       66.    Attached hereto as Exhibit 168 is a true and correct copy of a May 2012 email

chain, which was produced to the UCC under the Bates number MARSH-PURDUE-001777.

       67.    Attached hereto as Exhibit 169 is a true and correct copy of a July 2015 email

chain, which was produced to the UCC under the Bates number MDSF00450185.

       68.    Attached hereto as Exhibit 170 is a true and correct copy of a June 2016 email

chain, which was produced to the UCC under the Bates number MDSF00010697.

       69.    Attached hereto as Exhibit 171 is a true and correct copy of excerpts from a

February 29, 2012 Purdue news summary, which was produced to the UCC under the Bates

number IACS_ESI_0000490680.

       70.    Attached hereto as Exhibit 172 is a true and correct copy of an March 30, 2016

letter from Moody’s Investor Services, which was produced to the UCC under the Bates number

PPLPUCC003938943.

       71.    Attached hereto as Exhibit 173 is a true and correct copy of an April 7, 2016 letter

from Standard & Poor’s Ratings Services, which was produced to the UCC under the Bates number

PPLPUCC500143127.

       72.    Attached hereto as Exhibit 174 is a true and correct copy of a document titled

“Proposal Regarding Board Practices,” which was produced to the UCC under the Bates number

MSF00144650.

       73.    Attached hereto as Exhibit 175 is a true and correct copy of a July 16, 2017 email

from Mortimer Sackler which was produced to the UCC under the Bates number SideA00229177.

       74.    Attached hereto as Exhibit 176 is a true and correct copy of a March 10, 2008 email

from Richard Sackler which was produced to the UCC under the Bates number

PPLPC023000164605.




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       75.     Attached hereto as Exhibit 177 is a true and correct copy of an April-May 2011

email chain which was produced to the UCC under the Bates number PPLPUCC9000363533.

       76.     Attached hereto as Exhibit 178 is a true and correct copy of Purdue’s Written

Responses to 30(b)(6) Topics, served in connection with In re: National Prescription Opiate

Litigation, MDL No. 2804, in the United States District Court, Northern District of Ohio, which

was produced to the UCC under the Bates number POK003735973.

       77.     Attached hereto as Exhibit 179 is a true and correct copy of a June 18, 2014 Purdue

news summary, which was produced to the UCC under the Bates number POK003746339.

       78.     Attached hereto as Exhibit 180 is a true and correct copy of an April 12, 2012

OxyContin Market Events presentation, which was produced to the UCC under the Bates number

PPLPC012000372437.

       79.     Attached hereto as Exhibit 181 is a true and correct copy of excerpts from an

August 13, 2014 presentation from JP Morgan, which was produced to the UCC under the Bates

number PPLPUCC000281516.

       80.     Attached hereto as Exhibit 182 is a true and correct copy of the Purdue plea

agreement with the United States dated October 20, 2020 and filed in these proceedings at EFC

No. 1828-2.

       81.     Attached hereto as Exhibit 183 is a true and correct copy of excerpts from a

notification of patent decision in In re Oxycotin Antitrust Litig., No. 1:06-cv-13095-SHS (S.D.N.Y.

Jan. 7, 2008), which was produced to the UCC under the Bates number PURCHI-000834581.

       82.     Attached hereto as Exhibit 184 is a true and correct copy of an August 17, 2020

letter to Mitchell Hurley.




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       83.    Attached hereto as Exhibit 185 is a true and correct copy of excerpts from the

audited combined financial statements of Purdue for years ended December 31, 2007 and 2006,

which was produced to the UCC under the Bates number PPLPUCC500056846.

       84.    Attached hereto as Exhibit 186 is a true and correct copy of a May 1999 email

chain, which was produced to the UCC under the Bates number PPLPUCC000004987.

       85.    Attached hereto as Exhibit 187 is a true and correct copy of a March 2007 email

chain, which was produced to the UCC under the Bates number PPLPUCC004057767.

       86.    Attached hereto as Exhibit 188a is a true and correct copy of privilege slip sheet,

which was produced to the UCC under the Bates number PPLPC051000035807, and is identified

in metadata as the parent document of PPLPC051000035808 (Ex. 188b to this Declaration).

       87.    Attached hereto as Exhibit 188b is a true and correct copy of a 2006 Comment

published in Northwestern University Law Review titled: “West Virginia’s Painful Settlement:

How the OxyContin Phenomenon and Unconventional Theories of Tort Liability May Make

Pharmaceutical Companies Liable for Black Markets,” which was produced to the UCC under the

Bates number PPLPC051000035808.

       88.    Attached hereto as Exhibit 189 is a true and correct copy of a Purdue News

Summary circulated on June 20, 2014, which was produced to the UCC under the Bates number

PAZ000115626.

       89.    Attached hereto as Exhibit 190 is a true and correct copy of a June 2014 email

chain, which was produced to the UCC under the Bates number PPLPC045000017003.

       90.    Attached hereto as Exhibit 191 is a true and correct copy of excerpts from the

audited combined financial statements of Purdue for years ended December 31, 2008 and 2007,

which was produced to the UCC under the Bates number PPLPUCC500056885.




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REDACTED
       91.    Attached hereto as Exhibit 192 is a true and correct copy of a May 2012 email

chain, which was produced to the UCC under the Bates number MARSH-PURDUE-001863.

       92.    Attached hereto as Exhibit 193 is a true and correct copy of a April 2012 email

chain, which was produced to the UCC under the Bates number MARSH-PURDUE-001114.

       93.    Attached hereto as Exhibit 194 is a true and correct copy of a May 2012 email

chain, which was produced to the UCC under the Bates number MARSH-PURDUE-001804.

       94.    Attached hereto as Exhibit 195 is a true and correct copy of excerpts from a

privilege log dated March 5, 2019, produced by the Debtors in connection with MDL litigation,

and provided to the UCC in connection with these proceedings.

       95.    Attached hereto as Exhibit 196 is a true and correct copy of a November 2020

email chain between counsel for Norton Rose Fulbright, the UCC, and the Debtors, among others.

       96.    Attached hereto as Exhibit 197 is a true and correct copy of a November 8, 2020

email from Katherine Porter to counsel for the Debtors concerning deposition scheduling.

       97.    Attached hereto as Exhibit 198 is a true and correct copy of a November 15, 2020

email from Katherine Porter attaching the current deposition schedule in these proceedings.

       98.    Attached hereto as Exhibit 199 of State Settlement Agreement and Release dated

July 17, 2007, and entered into by the State of Washington and The Purdue Frederick Company,

Inc. and Purdue Pharma L.P., which was produced to the UCC under the Bates number

PPLPC030000403213.

       99.    Attached hereto as Exhibit 200 is a true and correct copy of the online curriculum

vitae of Norton Rose Fulbright attorney Donald Strauber, which was obtained on November 17,

2020, at https://www.nortonrosefulbright.com/en-us/people/1016474.




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       100.   Attached hereto as Exhibit 201 is a true and correct copy of the affidavit of Edward

B. Mahony, dated February 4, 2014, and submitted in connection with the lawsuit styled Purdue

Pharma L.P. v. Combs, Case No. 2013-CA-001941, in the Commonwealth of Kentucky Court of

Appeals.

       101.   Attached hereto as Exhibit 202 is a true and correct copy of the following journal

article: Ryan N. Hansen, et al., Economic Costs of Nonmedical Use of Prescription Opioids, 27

CLINICAL J. OF PAIN 194 (2011).

       102.   Attached hereto as Exhibit 203 is a true and correct copy of excerpts from the

audited combined financial statements of Purdue for years ended December 31, 2009 and 2008,

which was produced to the UCC under the Bates number PPLPUCC500056924.

       103.   Attached hereto as Exhibit 204 is a true and correct copy of a December 24, 2010

email to Richard Sackler titled “What’s new for ‘oxycontin’ in PubMed,” which was produced to

the UCC under the Bates number RSF_OLK00055037.

       104.   Attached hereto as Exhibit 205 is a true and correct copy of excerpts from the

audited combined financial statements of Purdue for years ended December 31, 2010 and 2009,

which was produced to the UCC under the Bates number PPLPUCC500056963.

       105.   Attached hereto as Exhibit 206 is a true and correct copy of an October 2014 email

chain, which was produced to the UCC under the Bates number PPLPC045000017072.

       106.   Attached hereto as Exhibit 207 is a true and correct copy of an email from Howard

Udel forwarding a March 10, 2008 article titled: “Anatomy Of A Patent Dispute: Purdue Pharma’s

OxyContin Battle,” which was produced to the UCC under the Bates number MSF01116645.

       107.   Attached hereto as Exhibit 208 is a true and correct copy of an excerpt from a

distributions summary spreadsheet provided by Side A to the UCC.




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REDACTED
       108.   Attached hereto as Exhibit 209 is a true and correct copy of a March 2007 email

chain, which was produced to the UCC under the Bates number PPLPUCC9004824942.

       109.   Attached hereto as Exhibit 210 is a true and correct copy of an annual report review

letter to Purdue from the Office of Inspector General, U.S. Department of Health & Human

Services, dated May 6, 2009, which was produced to the UCC under the Bates number

PNY000127987.

       110.   Attached hereto as Exhibit 211 is a true and correct copy of an annual report review

letter to Purdue from the Office of Inspector General, U.S. Department of Health & Human

Services, dated April 1, 2010, which was produced to the UCC under the Bates number

PPLP004250164.

       111.   Attached hereto as Exhibit 212 is a true and correct copy of an annual report review

letter to Purdue from the Office of Inspector General, U.S. Department of Health & Human

Services to Purdue, dated January 28, 2011, which was produced to the UCC under the Bates

number PPLPUCC001877705.

       112.   Attached hereto as Exhibit 213 is a true and correct copy of an annual report review

letter to Purdue from the Office of Inspector General, U.S. Department of Health & Human

Services to Purdue, dated March 8, 2012, which was produced to the UCC under the Bates number

PPLPUCC001884369.

       113.   Attached hereto as Exhibit 214 is a true and correct copy of an annual report review

letter to Purdue from the Office of Inspector General, U.S. Department of Health & Human

Services to Purdue, dated January 24, 2013, which was produced to the UCC under the Bates

number PPLP004427723.




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       114.    Attached hereto as Exhibit 215 is a true and correct copy of an August 2014 email

chain, which was produced to the UCC under the Bates number PPLPUCC9004797180.

       115.    Attached hereto as Exhibit 216 is a true and correct copy of the September 3, 2019

Amendment to the Shareholders’ Agreement executed between Purdue Pharma Inc. and certain

PPI Shareholders, which was provided to the UCC by the Debtors.

       116.    Attached hereto as Exhibit 217 is a true and correct copy of hearing transcript

excerpts from the Nov. 19, 2019 hearing in this matter.

       117.    Attached hereto as Exhibit 218 is a true and correct copy of deposition transcript

excerpts from the October 30, 2020 deposition of Cecil Pickett, Ph.D.

       118.    Attached hereto as Exhibit 219 is a true and correct copy of deposition transcript

excerpts from the November 4, 2020 deposition of Stuart Baker.

       119.    Attached hereto as Exhibit 220 is a true and correct copy of deposition transcript

excerpts from the September 22, 2020 deposition of Stephen Ives.

       120.    Attached hereto as Exhibit 221 is a true and correct copy of deposition transcript

excerpts from the August 28, 2020 deposition of David Sackler.

       121.    Attached hereto as Exhibit 222 is a true and correct copy of deposition transcript

excerpts from the September 2, 2020 deposition of Marianna Sackler.

       122.    Attached hereto as Exhibit 223 is a true and correct copy of deposition transcript

excerpts from the November 5, 2020 deposition of Kathe Sackler.

       123.    Attached hereto as Exhibit 224 is a true and correct copy of deposition transcript

excerpts from the October 27, 2020 deposition of John Stewart.

       124.    Attached hereto as Exhibit 225 is a true and correct copy of deposition transcript

excerpts from the October 30, 2020 deposition of Mark Timney.




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       125.   Attached hereto as Exhibit 226 is a true and correct copy of deposition transcript

excerpts from the November 10, 2020 deposition of Mortimer D.A. Sackler.

       126.   Attached hereto as Exhibit 227 is a true and correct copy of deposition transcript

excerpts from the September 24, 2020 deposition of Theresa Sackler.

       127.   Attached hereto as Exhibit 228 is a true and correct copy of deposition transcript

excerpts from the November 16, 2020 deposition of Peter Boer.



Executed on: November 18, 2020



                                                          /s/ Arik Preis
                                                          Arik Preis




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               EXHIBIT 110




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                                                                                      MITCHELL P. HURLEY
                                                                                      +1 212.872.1011/fax: +1 212.872.1002
                                                                                      mhurley@akingump.com


                                                 September 25, 2020

VIA E-MAIL

Alex Lees
Milbank LLP
55 Hudson Yards
New York, NY 10001


       Re:     In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.)

Dear Alex:

       We disagree in material part with the positions taken in your September 24, 2020 letter,
but will not revisit those disagreements at length here, and instead refer you to our prior
correspondence. A few points in your letter are addressed below.

       First, the Official Committee’s challenge to entry MB1172653_0002 is hereby withdrawn.

        Second, you complain that our privilege challenges do not “focus on documents that
actually matter to these cases.” As you know, however, the descriptions Side B provided on its
Logs are vague, and of course only Side B has access to the actual contents of the documents it
withheld. It is therefore impossible for the Official Committee to assess which of the tens of
thousands of documents responsive to the parties’ agreed search terms that Side B withheld
“actually matter,” to use your phrase. This is yet another way in which Side B’s Logs are
insufficient. Nevertheless, the Official Committee would consider in good faith any proposal Side
B may have for identifying the entries that Side B believes are not relevant to any of the issues in
these cases and will withdraw its challenge to the entries involving Mr. Burris and Mr. Madri,
solely on relevance grounds, though we continue to maintain our position that the communications
at issue are not entitled to protection on privilege or common interest grounds. One possibility
would be for Side B to identify challenged documents by control number that do not fit within any
of the categories the Official Committee has supplied to you in correspondence beginning on
August 20, 2020, and updated in a letter yesterday. We also would be open to discussing
reasonable modifications to those categories if you think that would be a productive way forward
in reducing the burden on the Court.

        Third, you claim that we “demanded a document by document privilege log,” but of course
that is not true. Months ago, you told the Official Committee that Side B would provide a
categorical log, as the local rules allow; without any explanation you changed course and delivered
a document-by-document log instead. That unilateral choice by Side B was not determined by the


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Official Committee, as you well know.

        Fourth, your suggestion that the discovery being undertaken by the Official Committee
“disregards” the Court’s instructions, or is somehow inconsistent with Side B’s expectations is
bizarre. Side B expressly consented in stipulations that were so-ordered by the Court to make
exactly the disclosures it is making now. The so-ordered stipulations likewise required Side B to
provide rolling privilege logs to the Official Committee precisely so that the Official Committee
can seek production of documents withheld by Side B where Side B fails to carry its burden of
establishing applicability of any privilege. We do not share Side B’s apparent belief that it can
undermine the agreed process merely by withholding an unusually large volume of documents as
privileged.

        Fifth, the chart you attach to your letter illustrates as well as anything your apparent
misapprehension as to Side B’s burden of proof with respect to the thousands of documents it
withheld on privilege grounds. For instance, you identify on your chart dozens of persons as either
“directors, agents, counsel, employees and representatives” of various parties without identifying
which persons are “directors,” which are “agents,” which are “counsel,” which are “employees”
and which are “representatives.” Nor do you identify any particular matters on which any of
“agents, counsel and representatives,” acted in those capacities, or tie their roles to any particular
documents or even categories of documents identified on the Logs, or make any effort to explain
why documents involving non-lawyers – apparently the great majority of the identified persons –
are nevertheless privileged. In short, the chart does not help Side B carry its burden of establishing
the privilege applies with any individual documents or categories of documents.

        Finally, regarding Messrs. Baker and White, you acknowledge that each had many roles at
Purdue and with the Sacklers and related entities that were non-legal in nature, including as trustees
and directors. Indeed, in Mr. Baker’s case, he was once described by your clients as the de facto
chairman of Purdue, and held hundreds of executive titles with Purdue and the IACs.
Unfortunately, the descriptions on your Logs are far too vague to establish that Messrs. Baker and
White were acting in a legal capacity with respect to the associated documents, as opposed to in
their capacities as directors, executives, trustees or otherwise. And we are not required, as you
seem to think, to simply “take your word for it.” As a compromise, however, please advise whether
you would agree to submit the Baker and White documents, or any of them, for in camera review
by the Court (or a referee if the Court prefers to appoint one).

        The Official Committee expressly reserves the right to raise additional issues with Side B’s
privilege logs and to challenge other entries or categories of entries as discovery progresses.
Nothing herein constitutes a waiver or relinquishment of any of the Official Committee’s claims,
defenses, rights, or remedies.




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September 25, 2020
Page 3

                                           Sincerely,

                                           /s/ Mitchell Hurley
                                           Mitchell P. Hurley

cc:      Marshall Huebner (Davis Polk & Wardwell LLP)
         Ben Kaminetzky (Davis Polk & Wardwell LLP)
         Charles Duggan (Davis Polk & Wardwell LLP)
         James McClammy (Davis Polk & Wardwell LLP)
         Margarita Clarens (Davis Polk & Wardwell LLP)
         Chautney M. Oluwole (Davis Polk & Wardwell LLP)
         Andrew Troop (Pillsbury Winthrop Shaw Pittman LLP)
         Andrew Alfano (Pillsbury Winthrop Shaw Pittman LLP)
         Jason Sharp (Pillsbury Winthrop Shaw Pittman LLP)
         Kenneth H. Eckstein (Kramer Levin Naftalis & Frankel LLP)
         Rachael Ringer (Kramer Levin Naftalis & Frankel LLP)




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            EXHIBIT 111




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                                                                                      mhurley@akingump.com


                                                  October 12, 2020

VIA E-MAIL

Alex Lees
Milbank LLP
55 Hudson Yards
New York, NY 10001


       Re:     In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.)

Dear Alex:

       We write in response to your letter dated September 28, 2020.

        Narrowing privilege disputes. At approximately 10:28 p.m. the night before the UCC was
scheduled to serve its privilege challenge motions, you made a proposal concerning certain
categories of documents that the UCC had identified as subject to challenge several weeks
previously. We have now had a chance to evaluate your letter and respond as follows. First, we
agree that the UCC will drop its challenges to Side B documents that constitute attorney work
product created after February 21, 2018 – the date you identify as “when [y]our clients first were
sued in connection with Purdue’s marketing of opioids” – and that were shared with a public
relations firm, to the extent the public relations firm had agreed to keep the attorney work product
confidential. For the avoidance of doubt, the UCC does not drop its challenges to documents
created by public relations firms that the Sacklers claim nevertheless somehow constitute
“attorney work product.” Nor do we agree that you have carried your burden concerning attorney-
client privilege with respect to documents created after February 21, 2018; as explained in our
correspondence and in the motions, including PR firms in discussions of “litigation strategy”
usually precludes the privilege from attaching to those discussions.

         We turn now to the subject matter categories. In your September 28 letter, you said you
reviewed 4,300 log entries listed on exhibits to the UCC’s September 12 and 22 letters, and claim
that 2,231 of them “do not fit within the subject matter categories identified in [the UCC’s letters]
since August 20, 2020.” It is unclear to us precisely which categories you referenced for this
review since the UCC provided more detailed categories regarding the “crime-fraud” and “at-
issue” exceptions in our September 24, 2020 letter that you did not specifically note in your
September 28 response. Since this exercise is about gauging relevance of the documents subject
to the log challenges motion, please confirm that you considered the categories noted in the UCC’s
September 24 letter. Likewise, please also advise whether the identified documents come within
the categories associated with the UCC’s “good cause” arguments listed in Exhibit 101 to the


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UCC’s privilege exceptions motion.

       We likely will agree to withdraw our challenges concerning most of the documents that
you represent do not come within any of the categories identified in the UCC’s exceptions motion,
including those associated with the UCC’s “good cause” arguments. We note, however, that a
number of the documents identified in your September 28 letter still appear to be pertinent based
on information disclosed in their associated log entries. We will supply you with a list of those
documents after you respond to the requests set forth above.

        Scope of discovery. You again falsely claim in your letter that the UCC somehow required
you to provide a document-by-document privilege log. In reality, as you know, you initially
indicated that the Sacklers planned to serve a categorical log and pointed out that such logs are
deemed presumptively adequate under S.D.N.Y. local rules. We asked the Sacklers to supply an
example of the format of the categorical log that they proposed providing so we could evaluate
whether your chosen format would be sufficient to satisfy the Sacklers’ burden to establish
privilege. Without any notice or explanation, the Sacklers abandoned their plan to supply a
categorical log, and provided sample logs prepared on a document-by-document basis. Only then
did the UCC ask that the logs include subject line information, since such information is
commonplace on document-by-document logs and can be supplied with minimal additional
burden. Whatever tactical edge the Sacklers hoped to gain by switching to a document-by-
document log, one thing cannot in good faith be disputed: the Sacklers decision not to use
categorical logs was theirs alone.

         Regarding the discovery stipulations, as you know, the Sacklers refused to agree on scope
and deadlines for their ESI searches and productions until after the UCC moved to compel. Having
since stipulated to scope and timing for certain discovery, the Sacklers cannot now complain that
the volume and schedule for that discovery, to which they specifically agreed and that they asked
the Court to “so order,” somehow is inappropriate. This is particularly so in view of the
extraordinary misconduct in which the Sacklers are accused of engaging, and the billions or
trillions of dollars of harm, and incalculable grief and personal suffering they are alleged to have
caused. Investigating the circumstances under which the Sacklers enriched themselves almost
beyond imagination by transferring to themselves the proceeds of opioid sales more than justifies
the inconvenience your clients claim currently to be experiencing as a result of ongoing
discovery.

        Please feel free to contact us if you have any questions. Nothing herein constitutes a waiver
or relinquishment of any of the UCC’s claims, defenses, rights, or remedies.




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October 12, 2020
Page 3

                                           Sincerely,

                                           /s/ Mitchell Hurley
                                           Mitchell P. Hurley



cc:      Marshall Huebner (Davis Polk & Wardwell LLP)
         Ben Kaminetzky (Davis Polk & Wardwell LLP)
         Charles Duggan (Davis Polk & Wardwell LLP)
         James McClammy (Davis Polk & Wardwell LLP)
         Margarita Clarens (Davis Polk & Wardwell LLP)
         Chautney M. Oluwole (Davis Polk & Wardwell LLP)
         Andrew Troop (Pillsbury Winthrop Shaw Pittman LLP)
         Andrew Alfano (Pillsbury Winthrop Shaw Pittman LLP)
         Jason Sharp (Pillsbury Winthrop Shaw Pittman LLP)
         Kenneth H. Eckstein (Kramer Levin Naftalis & Frankel LLP)
         Rachael Ringer (Kramer Levin Naftalis & Frankel LLP)




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               EXHIBIT 112




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                                                        Pg 28 of 113




                                                                                         MITCHELL P. HURLEY
                                                                                         +1 212.872.1011/fax: +1 212.872.1002
                                                                                         mhurley @akingump.com


                                                     October 14, 2020

VIA E-MAIL

Jasmine Ball
Debevoise & Plimpton LLP
919 Third Avenue
New York, NY 10022


       Re:      In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.)

Dear Jasmine:

        We write in response to your letters dated Setpember 22 and October 2, 2020, and in a
further effort to narrow certain privilege disputes.

        Narrowing volume of entries subject to dispute. At approximately 10:28 p.m. on
September 28, 2020, the Side B Sacklers responded to a UCC proposal for narrowing the volume
of documents subject to the parties’ disputes. After considering the Side B Sacklers September 28
correspondence, the UCC indicated it likely would withdraw its challenges to most documents that
the Side B Sacklers identified as not falling within the categories listed in Exhibit 101 to the UCC’s
Exception Motion with respect to the “good cause,” “crime fraud,” and/or “at issue” privilege
exceptions (the “Categories”). The UCC has not heard back from Side B, but is prepared to extend
the same terms to Side A. Specifically, and as you know, the descriptions Side A provided on its
Log, like those provided by Side B, are vague, and of course only Side A has access to the actual
contents of the documents it withheld. It is therefore impossible for the Official Committee to be
certain which of the tens of thousands of documents Side A withheld in response to the parties’
agreed search terms are likely to be the most pertinent to estate claims and other key issues in these
cases. This is yet another way in which Side A’s Log is insufficient. In an effort to narrow the
volume of material subject to the parties’ disputes and reduce the burden on the Court, however,
the UCC is prepared to limit its challenges to documents that come within the Categories. If Side
A wishes to proceed in this manner, please identify by control number any entries on Side A’s Log
that you contend do not fall within any of the Categories.

        September 22 and October 2, 2020 Letters. The UCC is in receipt of Appendices A-D to
your September 22, 2020 letter and Appendices A-B to your October 2, 2020 letter, which list the
privilege log control numbers for documents you have identified that “do not contain privileged
communications and therefore should not have been included in the Privilege Log; or that . . .
should have been produced in less redacted form.” In addition to identifying these documents by
privilege log control number, the UCC requests that Side A also provide their corresponding


                One Bry ant Park | New Y ork, New York 10036-6745 | 212.872.1000 | fax: 212.872.1002 | akingump.com

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October 14, 2020
Page 2

production Bates numbers. In particular, the UCC requires the Bates numbers associated with
documents “produced in less redacted form” so that it may evaluate the propriety of the remaining
redactions. Additionally, in your October 2 letter, you state that you “are in the process of revising
the Appendix to the Privilege Log to remove any individual email addresses that no longer appear
on the Privilege Log” and that you will also be producing a revised version of your Privilege Log.
However, to date, neither a revised Appendix nor a revised Privilege Log have been produced.
The UCC requests that you provide it with copies of the amended Appendix and Privilege Log so
that it may evaluate what entries remain in dispute.

         Please feel free to contact us if you have any questions. Nothing herein constitutes a waiver
or relinquishment of any of the UCC’s claims, defenses, rights, or remedies.

                                               Sincerely,

                                               /s/ Mitchell Hurley
                                               Mitchell P. Hurley



cc:      Marshall Huebner (Davis Polk & Wardwell LLP)
         Ben Kaminetzky (Davis Polk & Wardwell LLP)
         Charles Duggan (Davis Polk & Wardwell LLP)
         James McClammy (Davis Polk & Wardwell LLP)
         Margarita Clarens (Davis Polk & Wardwell LLP)
         Chautney M. Oluwole (Davis Polk & Wardwell LLP)
         Andrew Troop (Pillsbury Winthrop Shaw Pittman LLP)
         Andrew Alfano (Pillsbury Winthrop Shaw Pittman LLP)
         Jason Sharp (Pillsbury Winthrop Shaw Pittman LLP)
         Kenneth H. Eckstein (Kramer Levin Naftalis & Frankel LLP)
         Rachael Ringer (Kramer Levin Naftalis & Frankel LLP)




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               EXHIBIT 113




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From:               Scott, Elizabeth D.
To:                 Ball, Jasmine
Cc:                 mkmonaghan@debevoise.com; jrosen@debevoise.com; hwwilliford@debevoise.com; Hurley, Mitchell; Preis, Arik;
                    PPLP Group; PUR UCC PRIV TEAM; Huebner, Marshall S.; Kaminetzky, Benjamin S.; Duggan, Charles S.;
                    McClammy, James I.; Clarens, Margarita; Oluwole, Chautney M.; purdue.dpw.diligence@davispolk.com; Troop,
                    Andrew (External); Alfano, Andrew (External); Sharp, Jason (External); keckstein@kramerlevin.com; Ringer,
                    Rachael; Schinfeld, Seth F.; BCohen@KRAMERLEVIN.com
Subject:            RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A
Date:               Tuesday, October 20, 2020 1:52:57 PM


Jasmine,

We write to follow up on our October 14 letter. If you wish to narrow the scope of disputes with
Side A as previously offered, please respond immediately with a list of privilege control numbers on
Side A’s Log that you contend do not fall within the UCC’s Categories (as defined in the October 14
letter and provided in Exhibit 101 to the UCC’s privilege motions).

Also, as requested in our October 14 letter, we reiterate our request that you provide a list matching
production Bates numbers to privilege log control numbers that have been removed in full from Side
A’s Log or that have been produced with redactions. Without an amended privilege log containing
this information, and a list connecting the privilege log control number to the production Bates
number, the UCC has no way to verify whether a production has actually been made or what
privilege log entries are still subject to the UCC’s challenges.

Relatedly, Side A’s responses to the UCC’s privilege motions included commitments by Side A to
produce additional documents and/or provide an amended privilege log that in some cases
significantly impact the issues under the Court’s consideration. (See, e.g. Side A General Challenges
Response at n.19 regarding amending the privilege log to reflect spousal privilege without specifying
the affected log entries; ¶¶ 12, 23 regarding continued review and document production; n.6
regarding public relations documents produced and to be produced “in short order”; n.12 regarding
ongoing review related to third-party advisors; n.14 regarding insurance broker documents
produced and to be produced “in short order”; n.16 regarding consultant documents produced and
approximately 220 to be produced in “short order”; n.17 regarding 174 intent to seek legal advice
documents that “should not have been included in the privilege log”; ¶ 39 regarding unspecified
Stuart Baker documents that have already been removed “or will be removed shortly, and the UCC
will receive any such documents”; ¶ 40 and n.20 noting 231 documents associated with Mr. White
that were removed from the log and anticipating “producing over 100 documents shortly”).

Please immediately produce the documents you informed the Court that you would produce in your
response, provide an amended privilege log, and provide a list matching the previously withheld
documents to their production Bates numbers.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                     LLP

Direct: +1 214.969.4297 | Internal: 14297




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From: Scott, Elizabeth D.
Sent: Wednesday, October 14, 2020 10:57 AM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;
'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Counsel,

Please see the attached correspondence in connection with the above-referenced matter.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                   LLP

2300 N. Field Street | Suite 1800 | Dallas, TX 75201 | USA | Direct: +1 214.969.4297 | Internal: 14297
Fax: +1 214.969.4343 |                              edscott@akingump.com | akingump.com | Bio




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               EXHIBIT 114




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From:               Scott, Elizabeth D.
To:                 Ball, Jasmine
Cc:                 mkmonaghan@debevoise.com; jrosen@debevoise.com; hwwilliford@debevoise.com; Hurley, Mitchell; Preis, Arik;
                    PPLP Group; PUR UCC PRIV TEAM; Huebner, Marshall S.; Kaminetzky, Benjamin S.; Duggan, Charles S.;
                    McClammy, James I.; Clarens, Margarita; Oluwole, Chautney M.; purdue.dpw.diligence@davispolk.com; Troop,
                    Andrew (External); Alfano, Andrew (External); Sharp, Jason (External); keckstein@kramerlevin.com; Ringer,
                    Rachael; Schinfeld, Seth F.; BCohen@KRAMERLEVIN.com
Subject:            RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A
Date:               Friday, October 23, 2020 4:41:22 PM


Jasmine,

I am following up again about our October 14 letter and our October 20 email. Please advise if Side
A intends to provide a list of privilege control numbers on Side A’s Log that do not fall within the
UCC’s Categories (as defined in the October 14 letter and provided in Exhibit 101 to the UCC’s
privilege motions).

Please also respond as soon as possible regarding the remaining items detailed in our October 20
email below.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                     LLP

Direct: +1 214.969.4297 | Internal: 14297


From: Scott, Elizabeth D.
Sent: Tuesday, October 20, 2020 1:53 PM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;
'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Jasmine,

We write to follow up on our October 14 letter. If you wish to narrow the scope of disputes with


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Side A as previously offered, please respond immediately with a list of privilege control numbers on
Side A’s Log that you contend do not fall within the UCC’s Categories (as defined in the October 14
letter and provided in Exhibit 101 to the UCC’s privilege motions).

Also, as requested in our October 14 letter, we reiterate our request that you provide a list matching
production Bates numbers to privilege log control numbers that have been removed in full from Side
A’s Log or that have been produced with redactions. Without an amended privilege log containing
this information, and a list connecting the privilege log control number to the production Bates
number, the UCC has no way to verify whether a production has actually been made or what
privilege log entries are still subject to the UCC’s challenges.

Relatedly, Side A’s responses to the UCC’s privilege motions included commitments by Side A to
produce additional documents and/or provide an amended privilege log that in some cases
significantly impact the issues under the Court’s consideration. (See, e.g. Side A General Challenges
Response at n.19 regarding amending the privilege log to reflect spousal privilege without specifying
the affected log entries; ¶¶ 12, 23 regarding continued review and document production; n.6
regarding public relations documents produced and to be produced “in short order”; n.12 regarding
ongoing review related to third-party advisors; n.14 regarding insurance broker documents
produced and to be produced “in short order”; n.16 regarding consultant documents produced and
approximately 220 to be produced in “short order”; n.17 regarding 174 intent to seek legal advice
documents that “should not have been included in the privilege log”; ¶ 39 regarding unspecified
Stuart Baker documents that have already been removed “or will be removed shortly, and the UCC
will receive any such documents”; ¶ 40 and n.20 noting 231 documents associated with Mr. White
that were removed from the log and anticipating “producing over 100 documents shortly”).

Please immediately produce the documents you informed the Court that you would produce in your
response, provide an amended privilege log, and provide a list matching the previously withheld
documents to their production Bates numbers.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD              LLP

Direct: +1 214.969.4297 | Internal: 14297


From: Scott, Elizabeth D.
Sent: Wednesday, October 14, 2020 10:57 AM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;

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'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Counsel,

Please see the attached correspondence in connection with the above-referenced matter.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                   LLP

2300 N. Field Street | Suite 1800 | Dallas, TX 75201 | USA | Direct: +1 214.969.4297 | Internal: 14297
Fax: +1 214.969.4343 |                            | edscott@akingump.com | akingump.com | Bio




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               EXHIBIT 115




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              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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From:               Scott, Elizabeth D.
To:                 Ball, Jasmine
Cc:                 mkmonaghan@debevoise.com; jrosen@debevoise.com; hwwilliford@debevoise.com; Hurley, Mitchell; Preis, Arik;
                    PPLP Group; PUR UCC PRIV TEAM; Huebner, Marshall S.; Kaminetzky, Benjamin S.; Duggan, Charles S.;
                    McClammy, James I.; Clarens, Margarita; Oluwole, Chautney M.; purdue.dpw.diligence@davispolk.com; Troop,
                    Andrew (External); Alfano, Andrew (External); Sharp, Jason (External); keckstein@kramerlevin.com; Ringer,
                    Rachael; Schinfeld, Seth F.; BCohen@KRAMERLEVIN.com
Subject:            RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A
Date:               Thursday, October 29, 2020 10:02:47 PM


Jasmine and Harold,

In an effort to narrow the privilege entries presented to Judge Drain for determination, we sent you
a letter on October 14 and emails on October 20 and 23 asking if Side A would provide the UCC with
a list of the challenged privilege control numbers Side A contends are not within the UCC’s
Categories (as defined in the UCC’s October 14 letter and provided in Exhibit 101 to the UCC’s
privilege motions). Thus far, we have not received a response regarding whether Side A intends to
provide the UCC with such a list, much less a copy of the list.

Even if the list itself is not yet available, can you please at least respond to let the UCC know whether
you intend to provide one, and if so, when you anticipate being able to do so?

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                     LLP

Direct: +1 214.969.4297 | Internal: 14297


From: Scott, Elizabeth D.
Sent: Friday, October 23, 2020 4:41 PM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;
'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Jasmine,


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              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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                                                       Pg 39 of 113


I am following up again about our October 14 letter and our October 20 email. Please advise if Side
A intends to provide a list of privilege control numbers on Side A’s Log that do not fall within the
UCC’s Categories (as defined in the October 14 letter and provided in Exhibit 101 to the UCC’s
privilege motions).

Please also respond as soon as possible regarding the remaining items detailed in our October 20
email below.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD              LLP

Direct: +1 214.969.4297 | Internal: 14297


From: Scott, Elizabeth D.
Sent: Tuesday, October 20, 2020 1:53 PM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;
'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: RE: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Jasmine,

We write to follow up on our October 14 letter. If you wish to narrow the scope of disputes with
Side A as previously offered, please respond immediately with a list of privilege control numbers on
Side A’s Log that you contend do not fall within the UCC’s Categories (as defined in the October 14
letter and provided in Exhibit 101 to the UCC’s privilege motions).

Also, as requested in our October 14 letter, we reiterate our request that you provide a list matching
production Bates numbers to privilege log control numbers that have been removed in full from Side
A’s Log or that have been produced with redactions. Without an amended privilege log containing
this information, and a list connecting the privilege log control number to the production Bates
number, the UCC has no way to verify whether a production has actually been made or what

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privilege log entries are still subject to the UCC’s challenges.

Relatedly, Side A’s responses to the UCC’s privilege motions included commitments by Side A to
produce additional documents and/or provide an amended privilege log that in some cases
significantly impact the issues under the Court’s consideration. (See, e.g. Side A General Challenges
Response at n.19 regarding amending the privilege log to reflect spousal privilege without specifying
the affected log entries; ¶¶ 12, 23 regarding continued review and document production; n.6
regarding public relations documents produced and to be produced “in short order”; n.12 regarding
ongoing review related to third-party advisors; n.14 regarding insurance broker documents
produced and to be produced “in short order”; n.16 regarding consultant documents produced and
approximately 220 to be produced in “short order”; n.17 regarding 174 intent to seek legal advice
documents that “should not have been included in the privilege log”; ¶ 39 regarding unspecified
Stuart Baker documents that have already been removed “or will be removed shortly, and the UCC
will receive any such documents”; ¶ 40 and n.20 noting 231 documents associated with Mr. White
that were removed from the log and anticipating “producing over 100 documents shortly”).

Please immediately produce the documents you informed the Court that you would produce in your
response, provide an amended privilege log, and provide a list matching the previously withheld
documents to their production Bates numbers.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD               LLP

Direct: +1 214.969.4297 | Internal: 14297


From: Scott, Elizabeth D.
Sent: Wednesday, October 14, 2020 10:57 AM
To: 'Ball, Jasmine' <jball@debevoise.com>
Cc: 'mkmonaghan@debevoise.com' <mkmonaghan@debevoise.com>; 'jrosen@debevoise.com'
<jrosen@debevoise.com>; 'hwwilliford@debevoise.com' <hwwilliford@debevoise.com>; Hurley,
Mitchell <mhurley@AkinGump.com>; Preis, Arik <apreis@akingump.com>; PPLP Group
<PPLPGROUP@AKINGUMP.COM>; PUR UCC PRIV TEAM <PURUCCPRIVTEAM@akingump.com>;
'Huebner, Marshall S.' <marshall.huebner@davispolk.com>; 'Kaminetzky, Benjamin S.'
<ben.kaminetzky@davispolk.com>; 'Duggan, Charles S.' <charles.duggan@davispolk.com>;
'McClammy, James I.' <james.mcclammy@davispolk.com>; 'Clarens, Margarita'
<margarita.clarens@davispolk.com>; 'Oluwole, Chautney M.' <chautney.oluwole@davispolk.com>;
'purdue.dpw.diligence@davispolk.com' <purdue.dpw.diligence@davispolk.com>; Troop, Andrew
(External) <andrew.troop@pillsburylaw.com>; Alfano, Andrew (External)
<andrew.alfano@pillsburylaw.com>; Sharp, Jason (External) <jason.sharp@pillsburylaw.com>;
'keckstein@kramerlevin.com' <keckstein@kramerlevin.com>; 'Ringer, Rachael'
<RRinger@KRAMERLEVIN.com>; 'Schinfeld, Seth F.' <SSchinfeld@KRAMERLEVIN.com>;
'BCohen@KRAMERLEVIN.com' <BCohen@KRAMERLEVIN.com>
Subject: In re: Purdue Pharma L.P. et al., No. 19-23649 (Bankr. S.D.N.Y.) - Letter to Sackler Side A

Counsel,

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Please see the attached correspondence in connection with the above-referenced matter.

Thank you,

Elizabeth Scott
AKIN GUMP STRAUSS HAUER & FELD                   LLP

2300 N. Field Street | Suite 1800 | Dallas, TX 75201 | USA | Direct: +1 214.969.4297 | Internal: 14297
Fax: +1 214.969.4343 |                            | edscott@akingump.com | akingump.com | Bio




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               EXHIBIT 116




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                                     AL E XA ND E R B. L E E S
                                                Partner
                             55 Hudson Yards | New York, NY 10001-2163
                                           T: 212.530.5161
                                  alees@milbank.com | milbank.com


September 28, 2020


VIA EMAIL

Mitchell P. Hurley
Akin Gump Strauss Hauer & Feld LLP
One Bryant Park
New York, NY 10036

       Re:     In re Purdue Pharma L.P., No. 19-23649 (Bankr. S.D.N.Y.)

Dear Mitch:

       I write in response to your letter of September 24.

Narrowing Privilege Disputes

      We appreciate your offer to “consider in good faith any proposal Side B may have for
identifying the entries that Side B believes are not relevant to any of the issues in these cases.”
This is constructive. We hope to find an efficient resolution of disputes relating to entries on our
privilege logs.

       Approximately 9,000 privilege log entries that appear on Exhibits A to your September 12
and 22 letters involve public relations professionals – particularly, Goldin Associates, which was
hired by JHA to assist with litigation strategy in connection with the highly publicized and
politicized lawsuits concerning Purdue’s marketing of opioids. We are prepared to brief our
position that the presence of public relations firms does not make these documents discoverable,
and thus allow the Court to resolve how these 9,000 entries should be treated, if you choose to
move forward with your challenges. We urge you to reconsider your position on these
documents, however.

      At a minimum, we encourage you to rethink your challenges to our assertions of work
product protection. There is no dispute that the work product protection is not waived when a
non-lawyer or non-client becomes privy to a document; to the contrary, as we have demonstrated
in previous letters, the protection is waived only when the document is shared with a litigation
adversary or in such a way that increases the likelihood that the adversary will obtain it. You
have yet to come forward with any facts showing that this is the case with respect to the public-




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relations entries on our privilege log where work product protection is claimed. This alone is a
reason why you should consider dropping your challenges to these entries. If you were to change
your position with respect to communications involving public relations advisors, nearly three
quarters of our privilege disputes would be resolved, and we could substantially lessen the
burden you otherwise would seek to place on the Court. This would be a salutary outcome.

       While a reconsideration of your position with respect to work product and public relations
professionals could substantially narrow our disputes by itself, we also ask that you reevaluate
your position on our claims of attorney-client privilege. Your position in the past has been that
professionals like public relations firms can never be within the scope of the attorney-client
privilege. You appeared to back off that categorical argument in your letter of September 19,
when you agreed that public relations advisors (like other advisors) can be within the privilege in
some circumstances – and you presumably meant to include situations where these advisors
facilitate legal advice and strategy, as was the case with Goldin Associates here. This recognition
on your part again can relieve the Court of the burden of having to address thousands of privilege
log entries

        We especially urge you to reconsider your challenges to the public relations entries on our
privilege logs that post-date February 21, 2018, which is when our clients first were sued in
connection with Purdue’s marketing of opioids. After that date, responsive communications are
protected from disclosure under the principles outlined above and in our previous letters because,
as courts have repeatedly recognized, the focus of relevant communications would be on the
lawsuits and litigation strategy, not on the underlying conduct that is the subject of the claims.
Capitol Records, Inc. v. MP3tunes, LLC, 261 F.R.D. 44, 51 (S.D.N.Y. 2009) (“[I]t obviously is
correct that at some point in most civil suits the focus of the principals’ discussions shifts from
the acts or omissions giving rise to the claims to the prosecution or defense of the
lawsuit. . . . [T]o minimize the burden on [defendant], the Court will not require it to record on
its privilege log any attorney-client communications or work product documents created after
[the action] was filed.”); see also, e.g., Sec. & Exch. Comm’n v. Entholpy EMC, Inc., 2019 WL
2057273, at *3 (N.D. Cal. May 9, 2019) (“Communications involving trial counsel that post-date
the filing of the complaint need not be placed on a privilege log.”); Swinomish Indian Tribal
Cmty. v. BNSF Ry. Co., 2016 WL 2610247, at *3 (W.D. Wash. May 6, 2016) (after litigation
begins and the client’s attention turns to the defense of the lawsuit, “most, if not everything, is
then subject to the attorney/client privilege and/or the work product doctrine. The small chance
that some discoverable document may exist is outweighed by the burdens of having to collect
and log the vast majority of documents that is not discoverable.”); cf. The Sedona Principles,
Third Edition, 19 Sedona Conf. J. 1, 82-83 (2018) (recommending that parties stipulate that
“certain categories of documents are presumptively privileged (such as documents prepared,
sent, or received by attorneys who represent a party for specific purposes)” and “to classes of
privileged documents that do not need to be preserved or listed on a log[, such
as] . . . communications among a trial team after the litigation begins.”).




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September 28, 2020                                                                           Page 3


       This is particularly true in this case: Purdue made no partnership distributions in 2018;
Purdue ceased marketing opioids altogether in February 2018; and our clients all left the board in
2018. These facts confirm that the post-February 2018 privilege log entries will relate to
litigation strategy, not reflect or constitute the conduct you are investigating. Documents post-
dating February 21, 2018, account for nearly all of the 9,000 log entries involving public
relations firms, providing another reason why your reconsideration of this point could materially
narrow the scope of our privilege disputes.

        Separate from the public-relations entries on our privilege log, over the past few days
since receiving your letter, we undertook to re-review the approximately 4,300 remaining entries
that you listed on the exhibits to your September 12 and 22 letters to determine whether they fit
within the subject matter categories identified in your letters since August 20. Attached as
Exhibit 1 is a list of challenged entries that we believe are unrelated to these subject matters. Our
hope is that you will withdraw your challenges to these entries, too. In conducting this re-review,
we also identified several documents that we believe can be produced in full. We will follow up
with a list of those documents shortly and will promptly produce them.

      Finally, we have determined that approximately 300 documents on the exhibits to your
September 12 and 22 letters already have been produced in full, and therefore we do not believe
there is a live dispute with respect to them. Attached as Exhibit 2 is a list of these documents.

Scope of Discovery

        Our previous discussions belie your assertion that we made a “unilateral choice” to
generate a document-by-document log. When our teams conferred on the form of privilege log in
late June, Akin Gump made very clear that it wanted a document-by-document log; it also
demanded information about withheld documents (for example, subject lines for every individual
email) that could not be provided in the context of a categorical privilege log. That we acceded to
your requests does not mean we dictated the form of the log. Similarly, acceding to the UCC’s
demands by entering into a scheduling stipulation – thus sparing the Court from having to wade
into discovery disputes – cannot be fairly characterized as our sharing the belief that the UCC’s
subpoena was appropriately tailored or consistent with the Court’s instruction that discovery be
focused on due diligence rather than trial preparation. We have always maintained that the
UCC’s discovery program is overbroad and disproportionate. See May 29 letter (“[O]ur
commitment to review and produce ESI as we have described should not be interpreted as a
concession by us that the Official Committee’s Rule 2004 examination is reasonable or as a
waiver of our objections.”). The hundreds of thousands of documents we have produced and the
depositions you have conducted to date only confirm that conclusion. Moreover, the Court’s so-
ordering of a negotiated scheduling stipulation is not an endorsement by it of the scope of your
investigation.




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Sufficiency of Information Provided to Assess Privilege

      We continue to disagree with your position that we have failed to carry our burden with
respect to our privilege logs. We have provided you with far more information than is required,
as we have explained numerous times in previous letters, including the chart of relationships
provided with our September 25 letter. You are wrong to assert that we have not identified
“which persons are ‘directors,’ which are ‘agents,’ which are ‘counsel,’ which are ‘employees,’
and which are ‘representatives.’” Every person, firm, and entity appearing on our log has been
identified for you with a description of the applicable roles and relationships. As for your
assertion that we did not “identify any particular matters on which any of [sic] ‘agents, counsel
and representatives,’ acted in those capacities, or tie their roles to any particular documents or
even categories of documents identified on the Logs,” you are wrong again. If you reference the
privilege log descriptions, the lists identifying persons on the privilege log, and the chart we
provided to you last week (not to mention the other information we have provided to you in
correspondence), you are able to understand that our privilege assertions are justified. See, e.g.,
RSF00074966 (email between Phillip Bobbitt and Richard Sackler described as “Redacted
confidential communication requesting and reflecting request for legal advice regarding litigation
strategy and relevant legal developments”; “List of Individuals and Entities Appearing on the
July 22 Privilege Log” states that Mr. Bobbitt is “Counsel to Richard Sackler”; September 25
chart includes Mr. Bobbitt under “Counsel and Other Agents, Employees and Representatives”
of the Raymond Sackler Family, specifically noting that Mr. Bobbitt is connected with Richard
Sackler). We also remind you that if you ever have a particularized inquiry regarding a log entry,
or a person or entity appearing on the log, we are prepared to answer your questions. Each time
you have raised a question about a privilege assertion in the past, we have responded.

Stuart Baker and Jonathan White

      With respect to Mr. Baker and Mr. White, there is nothing “vague” about a privilege log
entry involving one of these lawyers (and no other counsel) that says the communication
involved the request for or provision of legal advice. That is a very clear statement that they
were acting in a legal capacity. In virtually every litigation, a privilege log includes
communications between lawyer and client and describes them as involving the provision of
legal advice on a given subject. And in all such instances, no more information is required to
establish the existence of a privilege and the fact that the lawyer was acting as such. Our
privilege logs here conform to this ordinary practice. So, too, do they follow the local rules – and
the instructions in your own subpoena – which require us to identify the nature of the privilege
being claimed, the type of document, the date of the document, and other information to identify
a document, such as the author, the addressees, and the relationships among the communicants
where not apparent. Local Bankr. R. 7034-1; Subpoena Instruction E.

        In challenging our privilege claims, the UCC has its own burden to carry. If you have any
basis to believe that any one of our privilege log entries involving Mr. Baker and Mr. White was




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withheld improperly because these attorneys were acting in a non-legal capacity, notwithstanding
our conclusion to the contrary, it is incumbent upon you to come forward with facts that you
believe undermine our claim. You have never done so. This in turn means that you are not
automatically entitled to in camera review. Such review is reserved for situations in which you
have made a prima facie case that a privilege or other protection from disclosure is inapplicable.
You have made no case at all.

        You say you do not necessarily have to “take our word for it” that Mr. Baker and Mr.
White were giving legal advice in any given log entry. But now that we have satisfied our
obligations under Local Bankruptcy Rule 7034-1(c) and complied with the instructions in your
subpoena, you do not simply get to declare “not so” and thereby overcome our claim of privilege
or trigger Court review. E.g., In re Coll. Landings Ltd. P’ship, 248 B.R. 619, 624 (Bankr. M.D.
Fla. 1998) (denying in camera review where party moving to compel provided no basis “to
support a reasonable belief that in camera review may yield evidence” that privilege did not
apply); Alpex Computer Corp. v. Nintendo Co., 1988 WL 87511, at *3 (S.D.N.Y. Aug. 16, 1988)
(“in camera inspection of large quantities of documents is not warranted in the absence of any
indication of a genuine dispute. The mutual suspicions of counsel are not a basis for shifting the
responsibility for discovery from counsel to the court.”). The burden in this privilege dispute has
shifted to you, and you have not satisfied it. 1


                                                     Very truly yours,

                                                     /s/ Alexander B. Lees
                                                     Alexander B. Lees


cc:      Marshall Huebner
         Kenneth Eckstein
         Andrew Troop
         Jasmine Ball




1
 We reserve the right to submit documents for in camera review at a later time, including in response to arguments
or assertions made by the UCC in its briefing of privilege issues.




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                                     Exhibit 1


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PS-00002701          PS-00004576            PS-00004946           PS-00101756

PS-00002706          PS-00004637            PS-00004948           PS-00101786

PS-00002720          PS-00004638            PS-00004956           PS-00101798

PS-00002722          PS-00004699            PS-00004961           PS-00101799

PS-00002729          PS-00004749            PS-00004962           PS-00101803

PS-00002859          PS-00004750            PS-00049202           PS-00101809

PS-00002860          PS-00004778            PS-00049223           PS-00101814

PS-00002874          PS-00004780            PS-00049272           PS-00101822

PS-00002876          PS-00004798            PS-00064272           PS-00101826

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PS-00003617          PS-00004821            PS-00093161           PS-00103413

PS-00003619          PS-00004822            PS-00094095           PS-00105127

PS-00003620          PS-00004838            PS-00099932           PS-00105138

PS-00003626          PS-00004839            PS-00101580           PS-00106015

PS-00003631          PS-00004877            PS-00101590           PS-00106477

PS-00003641          PS-00004885            PS-00101596           PS-00106595

PS-00003994          PS-00004900            PS-00101706           PS-00106596

PS-00004282          PS-00004905            PS-00101729           PS-00106597

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PS-00107508          PS-00398489           PS-01027899           PS-01146705

PS-00108645          PS-00398500           PS-01030985           PS-01147316

PS-00112524          PS-00398529           PS-01042190           PS-01151733

PS-00129062          PS-00398531           PS-01043242           PS-01154963

PS-00129261          PS-00409658           PS-01043258           PS-01156961

PS-00130188          PS-00418051           PS-01043259           PS-01157121

PS-00134141          PS-00458516           PS-01043261           PS-01157173

PS-00135295          PS-00460663           PS-01043265           PS-01157592

PS-00135861          PS-00460665           PS-01043287           PS-01157604

PS-00136025          PS-00473641           PS-01046928           PS-01157648

PS-00137026          PS-00513045           PS-01068382           PS-01157667

PS-00146866          PS-00528578           PS-01074970           PS-01157672

PS-00146873          PS-00562285           PS-01075040           PS-01158113

PS-00146923          PS-00562291           PS-01096933           PS-01158322

PS-00146924          PS-00563507           PS-01097025           PS-01158323

PS-00146997          PS-00620471           PS-01097105           PS-01159275

PS-00147019          PS-00649766           PS-01097112           PS-01162877

PS-00147043          PS-00701201           PS-01097114           PS-01162883

PS-00147063          PS-00768816           PS-01097128           RS0089935

PS-00148670          PS-00768818           PS-01097290           RS0098661

PS-00148687          PS-01003710           PS-01103581           RS0219996

PS-00155603          PS-01004535           PS-01106375           RS0220036

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RS0238246            RS0464635             RS0682946             RS0751659

RS0280201            RS0511983             RS0691477             RS0754836

RS0282446            RS0513145             RS0691566             RS0757794

RS0285153            RS0520118             RS0692735             RS0762842

RS0285417            RS0550134             RS0693774             RS0764019

RS0286316            RS0551296             RS0695454             RS0789303

RS0287542            RS0561619             RS0696217             RS0790819

RS0287596            RS0604961             RS0698047             RS0791178

RS0288660            RS0608211             RS0698177             RS0793764

RS0290466            RS0611464             RS0700649             RS0794602

RS0290674            RS0611539             RS0701670             RS0794819

RS0292340            RS0611680             RS0705055             RS0795275

RS0292411            RS0611830             RS0705840             RS0795720

RS0296928            RS0612118             RS0707331             RS0796097

RS0300178            RS0612226             RS0708139             RS0797025

RS0302053            RS0619023             RS0708930             RS0797123

RS0302364            RS0625772             RS0711486             RS0797296

RS0303746            RS0633243             RS0726057             RS0797806

RS0303785            RS0640464             RS0726668             RS0799710

RS0303872            RS0677114             RS0728004             RS0800344

RS0304047            RS0677437             RS0730436             RS0800819

RS0305028            RS0678002             RS0731793             RS0801238

RS0305835            RS0678528             RS0742349             RS0803400

RS0333277            RS0680014             RS0748489             RS0803803

RS0348600            RS0681524             RS0751388             RS0804151



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                     2169-1 OUTSIDE  PROFESSIONALS'
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RS0804907            RS0829494             RS0840254             RS0866827

RS0808199            RS0830260             RS0840523             RS0867910

RS0808967            RS0831063             RS0841201             RS0868329

RS0810335            RS0831195             RS0841961             RS0868429

RS0813032            RS0832043             RS0842911             RS0868663

RS0813260            RS0832308             RS0843229             RS0869382

RS0815393            RS0832736             RS0843376             RS0869441

RS0815665            RS0832785             RS0846115             RS0869494

RS0815946            RS0833854             RS0846666             RS0869699

RS0816406            RS0834021             RS0847357             RS0869832

RS0817101            RS0834315             RS0848145             RS0870733

RS0817330            RS0834792             RS0848869             RS0871355

RS0817504            RS0835110             RS0849926             RS0871465

RS0817610            RS0835548             RS0850094             RS0872069

RS0817747            RS0836139             RS0850156             RS0872221

RS0820554            RS0836636             RS0850167             RS0872434

RS0821667            RS0836851             RS0851703             RS0872673

RS0821970            RS0837246             RS0853813             RS0872883

RS0824606            RS0837315             RS0859688             RS0873248

RS0825398            RS0837324             RS0860366             RS0873622

RS0825610            RS0837528             RS0864750             RS0873949

RS0826093            RS0838223             RS0864959             RS0874261

RS0826491            RS0839199             RS0865593             RS0874803

RS0827600            RS0839409             RS0865837             RS0875108

RS0827835            RS0840050             RS0866395             RS0875740



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                     2169-1 OUTSIDE  PROFESSIONALS'
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RS0875777            RS0886875             RS0899640             RS0926792

RS0876075            RS0887266             RS0900036             RS0929047

RS0876341            RS0888077             RS0900733             RS0929378

RS0876885            RS0888200             RS0900774             RS0930557

RS0878009            RS0889716             RS0901349             RS0931151

RS0878186            RS0891264             RS0901509             RS0932863

RS0878332            RS0892636             RS0901790             RS0935673

RS0878471            RS0893926             RS0902180             RS0937563

RS0878722            RS0894154             RS0902530             RSM-118062

RS0879090            RS0894479             RS0902640             RSM-118894

RS0879889            RS0894580             RS0903151             RSM-119364

RS0879899            RS0895422             RS0906285             RSM-122659

RS0879948            RS0895457             RS0907214             RSM-124973

RS0880232            RS0895574             RS0907368             RSM-127079

RS0881993            RS0895614             RS0907601             RSM-128832

RS0882001            RS0895811             RS0908087             RSM-129844

RS0882528            RS0895929             RS0908524             RSM-131001

RS0884436            RS0896137             RS0908887             RSM-131308

RS0884685            RS0896918             RS0909221             RSM-131715

RS0885087            RS0898384             RS0909451             RSM-135860

RS0885244            RS0898628             RS0914711             RSM-136009

RS0885312            RS0898732             RS0914911             RSM-136227

RS0885829            RS0899358             RS0914976             RSM-136992

RS0886145            RS0899445             RS0920668             RSM-139128

RS0886818            RS0899514             RS0925110             RSM-139337



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  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
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RSM-140060           RSM-281110            JS-116659             DSF0033649

RSM-140278           RSM-282006            JS-116730             DSF0033660

RSM-143981           RSM-282449            JS-116739             DSF0033661

RSM-148352           RSM-286805            JS-116741             DSF0033712

RSM-149871           RSM-289505            JS-116758             DSF0033714

RSM-151267           RSM-294348            JS-116785             DSF0033716

RSM-161001           RSM-294738            JS-116841             DSF0033717

RSM-161539           RSM-296001            JS-121018             DSF0033722

RSM-176071           RSM-297492            DSF0008476            DSF0033723

RSM-176676           RSM-299901            DSF0009812            DSF0033724

RSM-188406           RSM-300453            DSF0009844            DSF0033726

RSM-188610           RSM-300527            DSF0018075            DSF0033728

RSM-251970           RSM-300851            DSF0019057            DSF0033762

RSM-257184           RSM-301270            DSF0026630            DSF0033772

RSM-257285           RSM-307060            DSF0026631            DSF0033773

RSM-259789           RSM-307701            DSF0026632            DSF0033782

RSM-265773           RSM-308424            DSF0026633            DSF0033797

RSM-272625           RSM-313251            DSF0026634            DSF0033798

RSM-272874           JS-068602             DSF0026647            DSF0033799

RSM-275969           JS-068605             DSF0027075            DSF0033800

RSM-277681           JS-068607             DSF0027080            DSF0033803

RSM-277806           JS-115851             DSF0027095            DSF0033806

RSM-279777           JS-115852             DSF0027111            DSF0033808

RSM-280581           JS-115864             DSF0033391            DSF0033809

RSM-280988           JS-116644             DSF0033598            DSF0033811



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DSF0033813           DSF0035534            DSF0041671            DSF0048122

DSF0033818           DSF0035538            DSF0041702            DSF0048295

DSF0033819           DSF0035539            DSF0041703            DSF0048464

DSF0033822           DSF0035572            DSF0042027            DSF0049793

DSF0033824           DSF0035578            DSF0042029            DSF0050829

DSF0033857           DSF0035579            DSF0042030            DSF0050855

DSF0033904           DSF0035594            DSF0042032            DSF0051090

DSF0035310           DSF0037100            DSF0042033            DSF0051217

DSF0035483           DSF0037139            DSF0042862            DSF0051384

DSF0035485           DSF0037184            DSF0043414            DSF0055201

DSF0035490           DSF0037193            DSF0045099            DSF0061533

DSF0035492           DSF0037195            DSF0045367            DSF0061537

DSF0035494           DSF0037196            DSF0045517            DSF0061561

DSF0035495           DSF0037198            DSF0045639            DSF0061575

DSF0035496           DSF0037324            DSF0045828            DSF0061579

DSF0035499           DSF0037327            DSF0045829            DSF0061580

DSF0035509           DSF0037328            DSF0045983            DSF0061598

DSF0035512           DSF0037335            DSF0045984            DSF0061600

DSF0035514           DSF0037355            DSF0046182            DSF0061601

DSF0035515           DSF0037372            DSF0046834            DSF0061606

DSF0035523           DSF0039375            DSF0047079            DSF0061613

DSF0035528           DSF0041491            DSF0047226            DSF0061622

DSF0035529           DSF0041521            DSF0047412            DSF0061627

DSF0035531           DSF0041620            DSF0047631            DSF0061631

DSF0035533           DSF0041627            DSF0047881            DSF0061636



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DSF0061671           DSF0061999            DSF0062240            DSF0062593

DSF0061676           DSF0062004            DSF0062255            DSF0062638

DSF0061679           DSF0062014            DSF0062261            DSF0062646

DSF0061688           DSF0062022            DSF0062278            DSF0062712

DSF0061691           DSF0062071            DSF0062279            DSF0062752

DSF0061692           DSF0062074            DSF0062282            DSF0062754

DSF0061693           DSF0062076            DSF0062289            DSF0062755

DSF0061699           DSF0062105            DSF0062314            DSF0062776

DSF0061739           DSF0062110            DSF0062316            DSF0062806

DSF0061746           DSF0062115            DSF0062319            DSF0062857

DSF0061771           DSF0062120            DSF0062397            DSF0062883

DSF0061774           DSF0062127            DSF0062426            DSF0062884

DSF0061799           DSF0062130            DSF0062434            DSF0062947

DSF0061821           DSF0062132            DSF0062495            DSF0062949

DSF0061842           DSF0062149            DSF0062498            DSF0062959

DSF0061855           DSF0062150            DSF0062500            DSF0062967

DSF0061900           DSF0062164            DSF0062507            DSF0062976

DSF0061915           DSF0062165            DSF0062514            DSF0062980

DSF0061933           DSF0062166            DSF0062534            DSF0062985

DSF0061960           DSF0062170            DSF0062551            DSF0063014

DSF0061970           DSF0062181            DSF0062556            DSF0063084

DSF0061980           DSF0062187            DSF0062558            DSF0063180

DSF0061985           DSF0062201            DSF0062569            DSF0063192

DSF0061987           DSF0062202            DSF0062575            DSF0063193

DSF0061989           DSF0062214            DSF0062587            DSF0063197



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DSF0063198           DSF0063619            DSF0063886            DSF0064190

DSF0063202           DSF0063626            DSF0063913            DSF0064193

DSF0063214           DSF0063628            DSF0063921            DSF0064194

DSF0063222           DSF0063635            DSF0063927            DSF0064221

DSF0063231           DSF0063641            DSF0063930            DSF0064229

DSF0063243           DSF0063647            DSF0063939            DSF0064231

DSF0063251           DSF0063663            DSF0063946            DSF0064235

DSF0063252           DSF0063671            DSF0063958            DSF0064246

DSF0063256           DSF0063726            DSF0063963            DSF0064253

DSF0063289           DSF0063741            DSF0063968            DSF0064254

DSF0063294           DSF0063753            DSF0063972            DSF0064262

DSF0063338           DSF0063778            DSF0064032            DSF0064265

DSF0063368           DSF0063807            DSF0064045            DSF0064270

DSF0063371           DSF0063808            DSF0064068            DSF0064277

DSF0063388           DSF0063820            DSF0064090            DSF0064279

DSF0063417           DSF0063822            DSF0064096            DSF0064282

DSF0063471           DSF0063824            DSF0064097            DSF0064283

DSF0063490           DSF0063829            DSF0064101            DSF0064288

DSF0063510           DSF0063831            DSF0064102            DSF0064294

DSF0063534           DSF0063838            DSF0064112            DSF0064300

DSF0063554           DSF0063843            DSF0064151            DSF0064303

DSF0063562           DSF0063848            DSF0064168            DSF0064304

DSF0063589           DSF0063872            DSF0064176            DSF0064306

DSF0063595           DSF0063874            DSF0064180            DSF0064328

DSF0063598           DSF0063877            DSF0064189            DSF0064330



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DSF0064332           DSF0064406             DSF0064509           DSF0064657

DSF0064333           DSF0064407             DSF0064511           DSF0064659

DSF0064334           DSF0064410             DSF0064513           DSF0064669

DSF0064342           DSF0064411             DSF0064514           DSF0064674

DSF0064346           DSF0064414             DSF0064521           DSF0064681

DSF0064362           DSF0064417             DSF0064523           DSF0064683

DSF0064365           DSF0064419             DSF0064524           DSF0064699

DSF0064367           DSF0064420             DSF0064529           DSF0064703

DSF0064368           DSF0064421             DSF0064530           DSF0064705

DSF0064369           DSF0064422             DSF0064549           DSF0064708

DSF0064370           DSF0064425             DSF0064556           DSF0064716

DSF0064371           DSF0064432             DSF0064563           DSF0064736

DSF0064379           DSF0064433             DSF0064564           DSF0064750

DSF0064380           DSF0064436             DSF0064567           DSF0064763

DSF0064382           DSF0064451             DSF0064568           DSF0064765

DSF0064383           DSF0064459             DSF0064577           DSF0064780

DSF0064384           DSF0064464             DSF0064581           DSF0064783

DSF0064385           DSF0064465             DSF0064585           DSF0064784

DSF0064386           DSF0064487             DSF0064588           DSF0064843

DSF0064388           DSF0064490             DSF0064590           DSF0064852

DSF0064393           DSF0064493             DSF0064605           DSF0064869

DSF0064394           DSF0064495             DSF0064635           DSF0064885

DSF0064395           DSF0064496             DSF0064638           DSF0064890

DSF0064396           DSF0064501             DSF0064643           DSF0064892

DSF0064404           DSF0064502             DSF0064649           DSF0064914



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DSF0064919           DSF0065038             DSF0082651           RSNY12204119

DSF0064922           DSF0065047             DSF0082704           RSNY12204496

DSF0064928           DSF0065048             RSNY12021749         RSNY12205016

DSF0064929           DSF0065991             RSNY12023195         RSNY12205310

DSF0064932           DSF0065994             RSNY12025226         RSNY12228453

DSF0064933           DSF0066022             RSNY12025344         RSNY12229889

DSF0064935           DSF0066040             RSNY12028263         RSNY12249705

DSF0064944           DSF0066063             RSNY12130397         RSNY12255324

DSF0064947           DSF0077424             RSNY12130854         RSNY12262029

DSF0064949           DSF0082481             RSNY12131807         RSNY12271149

DSF0064950           DSF0082538             RSNY12137098         RSNY12282653

DSF0064952           DSF0082557             RSNY12138524         RSNY12334936

DSF0064953           DSF0082589             RSNY12141135         RSNY12363629

DSF0064954           DSF0082592             RSNY12143798         RSNY12367554

DSF0064955           DSF0082597             RSNY12144418         RSNY12393177

DSF0064978           DSF0082599             RSNY12145102         RSNY12409352

DSF0064989           DSF0082601             RSNY12185243         RSNY12411623

DSF0064991           DSF0082602             RSNY12189503         RSNY12412250

DSF0064992           DSF0082604             RSNY12190488         RSNY12413503

DSF0065007           DSF0082606             RSNY12194995         RSNY12419881

DSF0065011           DSF0082607             RSNY12196164         RSNY12441529

DSF0065012           DSF0082620             RSNY12199803         RSNY15138259

DSF0065014           DSF0082622             RSNY12203013         PS-00049255

DSF0065020           DSF0082625             RSNY12203819         RSNY12294176

DSF0065023           DSF0082626             RSNY12203900         RSNY12294177



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  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
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RSNY12294178         PS-01210233            PS-01241279          PS-01275611

PS-00878188          PS-01212337            PS-01243619          PS-01275791

PS-01163332          PS-01213481            PS-01247222          PS-01276123

DSF0018105           PS-01213714            PS-01252443          PS-01277589

DSF0063925           PS-01213996            PS-01254254          PS-01277816

DSF0064387           PS-01214002            PS-01258636          PS-01278198

DSF0064389           PS-01216192            PS-01259014          PS-01278710

DSF0064587           PS-01216690            PS-01261019          PS-01281710

DSF0064589           PS-01222437            PS-01264381          PS-01282004

DSF0064921           PS-01225536            PS-01266359          PS-01282130

DSF0066002           PS-01225944            PS-01266539          PS-01282136

DSF0066003           PS-01226874            PS-01266829          PS-01282142

DSF0066004           PS-01227035            PS-01268077          PS-01282184

DSF0066007           PS-01228864            PS-01268329          PS-01282226

DSF0066008           PS-01228943            PS-01268732          PS-01282238

DSF0066009           PS-01228967            PS-01268744          PS-01282244

DSF0066010           PS-01228979            PS-01268750          PS-01282250

DSF0066011           PS-01228985            PS-01268798          PS-01282256

DSF0066012           PS-01232016            PS-01268882          PS-01282262

DSF0066013           PS-01232931            PS-01269368          PS-01282316

DSF0066015           PS-01236018            PS-01271014          PS-01282424

DSF0082058           PS-01237988            PS-01273804          PS-01282514

DSF0082603           PS-01238783            PS-01273909          PS-01282556

DSF0082605           PS-01239071            PS-01273955          PS-01282562

PS-01208350          PS-01239251            PS-01274134          PS-01282568



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  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
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PS-01282634          PS-01283864            PS-01285028          PS-01288001

PS-01282640          PS-01283972            PS-01285076          PS-01288593

PS-01282652          PS-01283984            PS-01285094          PS-01288821

PS-01282742          PS-01283996            PS-01285274          PS-01292058

PS-01282778          PS-01284074            PS-01285292          PS-01292750

PS-01282784          PS-01284308            PS-01285298          PS-01294260

PS-01282790          PS-01284332            PS-01285340          PS-01294308

PS-01282814          PS-01284350            PS-01285502          PS-01294326

PS-01282826          PS-01284614            PS-01285556          PS-01297641

PS-01282832          PS-01284626            PS-01285616          PS-01298349

PS-01282982          PS-01284650            PS-01285622          PS-01299340

PS-01283252          PS-01284656            PS-01285628          PS-01299400

PS-01283300          PS-01284668            PS-01285646          PS-01300525

PS-01283324          PS-01284680            PS-01285670          PS-01301246

PS-01283330          PS-01284686            PS-01285688          PS-01303496

PS-01283756          PS-01284692            PS-01285724          PS-01308335

PS-01283768          PS-01284698            PS-01285730          PS-01308725

PS-01283774          PS-01284716            PS-01285766          PS-01308761

PS-01283780          PS-01284722            PS-01286078          PS-01308989

PS-01283792          PS-01284746            PS-01286150          PS-01309875

PS-01283834          PS-01284806            PS-01280009          PS-01310813

PS-01283840          PS-01284872            PS-01280357          PS-01311015

PS-01283846          PS-01284890            PS-01280498          PS-01311621

PS-01283852          PS-01284944            PS-01283905          PS-01315627

PS-01283858          PS-01284968            PS-01284617          PS-01315851



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                                        13 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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              Declaration   SUBJECT
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PS-01319938          PS-01358002            PS-01400612          PS-01413671

PS-01323534          PS-01358366            PS-01400642          PS-01413992

PS-01329167          PS-01361090            PS-01401243          PS-01416967

PS-01330514          PS-01361162            PS-01401574          PS-01418433

PS-01332989          PS-01361803            PS-01405881          PS-01418439

PS-01333097          PS-01361822            PS-01407159          PS-01418445

PS-01336706          PS-01362241            PS-01407659          PS-01418457

PS-01336928          PS-01365546            PS-01408354          PS-01418672

PS-01338040          PS-01368044            PS-01409165          PS-01419759

PS-01340532          PS-01368122            PS-01409534          PS-01419992

PS-01344953          PS-01369596            PS-01410632          PS-01421011

PS-01345667          PS-01370743            PS-01410776          PS-01421333

PS-01346160          PS-01372005            PS-01410867          PS-01421361

PS-01348132          PS-01372813            PS-01410879          PS-01421413

PS-01348192          PS-01373092            PS-01410927          PS-01421681

PS-01348618          PS-01375206            PS-01411131          PS-01421895

PS-01348732          PS-01375380            PS-01411544          PS-01422476

PS-01348840          PS-01376916            PS-01411789          PS-01422615

PS-01350156          PS-01382433            PS-01411924          PS-01423490

PS-01350630          PS-01383789            PS-01411969          PS-01423610

PS-01354711          PS-01384660            PS-01411987          PS-01425577

PS-01357461          PS-01387205            PS-01412107          PS-01425619

PS-01357605          PS-01389564            PS-01412443          PS-01425699

PS-01357766          PS-01397570            PS-01413437          PS-01426948

PS-01357990          PS-01400600            PS-01413617          PS-01426954



                    PUBLICLY FILED PER- STIPULATION
                                        14 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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              Declaration   SUBJECT
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PS-01427068          PS-01439771            PS-01445987          PS-01470617

PS-01427176          PS-01440095            PS-01446006          PS-01477752

PS-01427182          PS-01440098            PS-01446047          PS-01479401

PS-01427188          PS-01440314            PS-01446815          PS-01518944

PS-01428502          PS-01440373            PS-01449556          PS-01518992

PS-01428508          PS-01440593            PS-01449826          PS-01519016

PS-01428775          PS-01440599            PS-01450096          PS-01521899

PS-01429749          PS-01440991            PS-01450781          PS-01532095

PS-01429773          PS-01441007            PS-01455066          PS-01535732

PS-01430207          PS-01441924            PS-01455750          PS-01535750

PS-01430614          PS-01441937            PS-01456895          PS-01550342

PS-01431341          PS-01441954            PS-01457063          PS-01550348

PS-01432044          PS-01441961            PS-01457921          PS-01550384

PS-01432110          PS-01442177            PS-01457945          PS-01552592

PS-01434160          PS-01442225            PS-01457958          PS-01553204

PS-01434364          PS-01442459            PS-01458017          PS-01554295

PS-01434961          PS-01442512            PS-01458179          PS-01555478

PS-01434986          PS-01442513            PS-01459681          PS-01569643

PS-01435016          PS-01442542            PS-01460304          PS-01569703

PS-01435033          PS-01442560            PS-01460356          PS-01572824

PS-01435057          PS-01444181            PS-01462498          PS-01574390

PS-01435121          PS-01444361            PS-01462732          PS-01576448

PS-01435668          PS-01445699            PS-01463052          PS-01576682

PS-01435955          PS-01445922            PS-01465372          PS-01576706

PS-01437209          PS-01445933            PS-01465468          PS-01576724



                    PUBLICLY FILED PER- STIPULATION
                                        15 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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PS-01576988          PS-01578062            PS-01597642          PS-01604027

PS-01577000          PS-01578098            PS-01599325          PS-01604039

PS-01577024          PS-01578104            PS-01600873          PS-01604129

PS-01577030          PS-01578140            PS-01600879          PS-01604165

PS-01577042          PS-01578452            PS-01601885          PS-01604171

PS-01577054          PS-01578524            PS-01602299          PS-01604177

PS-01577060          PS-01575709            PS-01603097          PS-01604201

PS-01577066          PS-01575715            PS-01603391          PS-01604213

PS-01577072          PS-01575727            PS-01603517          PS-01604219

PS-01577090          PS-01575733            PS-01603523          PS-01604639

PS-01577096          PS-01575745            PS-01603529          PS-01604687

PS-01577120          PS-01575751            PS-01603571          PS-01604711

PS-01577180          PS-01575757            PS-01603613          PS-01605143

PS-01577246          PS-01575853            PS-01603625          PS-01605155

PS-01577264          PS-01575871            PS-01603631          PS-01605161

PS-01577318          PS-01575877            PS-01603637          PS-01605167

PS-01577342          PS-01575883            PS-01603643          PS-01605179

PS-01577402          PS-01575895            PS-01603649          PS-01605221

PS-01577450          PS-01575919            PS-01603703          PS-01605227

PS-01577468          PS-01576269            PS-01603811          PS-01605233

PS-01577930          PS-01579621            PS-01603901          PS-01605239

PS-01577990          PS-01579639            PS-01603943          PS-01605245

PS-01577996          PS-01583569            PS-01603949          PS-01602178

PS-01578002          PS-01586159            PS-01603955          PS-01602184

PS-01578044          PS-01590748            PS-01604021          PS-01602370



                    PUBLICLY FILED PER- STIPULATION
                                        16 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
                                   110-117   122-128ORDER
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PS-01602448          PS-01641494            PS-01666603          PS-01691388

PS-01602586          PS-01645734            PS-01666609          PS-01691418

PS-01602658          PS-01645740            PS-01666771          PS-01691655

PS-01603011          PS-01650644            PS-01666795          PS-01691693

PS-01603599          PS-01650962            PS-01666807          PS-01691771

PS-01606078          PS-01651507            PS-01667993          PS-01691885

PS-01606414          PS-01651908            PS-01669187          PS-01694544

PS-01607956          PS-01652725            PS-01669642          PS-01707102

PS-01607998          PS-01652731            PS-01669715          PS-01707915

PS-01608043          PS-01652737            PS-01670806          PS-01708136

PS-01618884          PS-01656961            PS-01671322          PS-01708226

PS-01618902          PS-01658213            PS-01671328          PS-01709024

PS-01619100          PS-01658273            PS-01671334          PS-01709520

PS-01620292          PS-01658345            PS-01672291          PS-01709526

PS-01621617          PS-01659816            PS-01672757          PS-01709532

PS-01621665          PS-01660176            PS-01673122          PS-01709538

PS-01629592          PS-01661249            PS-01674484          PS-01709544

PS-01633037          PS-01661621            PS-01674532          PS-01709550

PS-01634562          PS-01662035            PS-01676099          PS-01709592

PS-01635483          PS-01662719            PS-01684552          PS-01709598

PS-01637282          PS-01662863            PS-01687344          PS-01710548

PS-01637318          PS-01662977            PS-01687362          PS-01727066

PS-01637360          PS-01663013            PS-01687380          PS-01736660

PS-01637552          PS-01663157            PS-01690437          PS-01742887

PS-01637564          PS-01666457            PS-01691339          PS-01742905



                    PUBLICLY FILED PER- STIPULATION
                                        17 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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PS-01745029          PS-01773471            PS-01787102          PS-01793084

PS-01745671          PS-01773685            PS-01787108          PS-01793258

PS-01750198          PS-01774197            PS-01787120          PS-01793864

PS-01750210          PS-01774523            PS-01787126          PS-01793912

PS-01750252          PS-01775167            PS-01787228          PS-01794569

PS-01750264          PS-01775401            PS-01787234          PS-01794579

PS-01750984          PS-01775807            PS-01787240          PS-01794597

PS-01751164          PS-01776718            PS-01787271          PS-01794667

PS-01753240          PS-01778123            PS-01787425          PS-01795244

PS-01755370          PS-01778135            PS-01787985          PS-01795292

PS-01757252          PS-01778147            PS-01788781          PS-01795481

PS-01757710          PS-01778301            PS-01788793          PS-01795505

PS-01761307          PS-01778313            PS-01788799          PS-01795523

PS-01762477          PS-01778319            PS-01788817          PS-01795565

PS-01764056          PS-01778734            PS-01788841          PS-01795577

PS-01764238          PS-01779710            PS-01788847          PS-01796677

PS-01767569          PS-01779716            PS-01788877          PS-01797454

PS-01767941          PS-01779764            PS-01788889          PS-01797478

PS-01771543          PS-01779776            PS-01790453          PS-01797542

PS-01771679          PS-01783863            PS-01790809          PS-01798242

PS-01771723          PS-01784614            PS-01791451          PS-01798982

PS-01772601          PS-01785667            PS-01791577          PS-01799197

PS-01772891          PS-01786349            PS-01792988          PS-01799329

PS-01773283          PS-01786742            PS-01792994          PS-01799443

PS-01773431          PS-01786760            PS-01793018          PS-01799581



                    PUBLICLY FILED PER- STIPULATION
                                        18 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
                                                                          Preis
                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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PS-01799968          PS-01810474            PS-01823572          PS-01828569

PS-01800319          PS-01810480            PS-01823752          PS-01829277

PS-01801484          PS-01810663            PS-01824521          PS-01829364

PS-01801496          PS-01811620            PS-01824558          PS-01829586

PS-01802153          PS-01811941            PS-01824570          PS-01829740

PS-01803521          PS-01812150            PS-01824575          PS-01829820

PS-01803630          PS-01812420            PS-01824804          PS-01829826

PS-01804015          PS-01812814            PS-01825158          PS-01830081

PS-01804429          PS-01812825            PS-01825314          PS-01830093

PS-01804435          PS-01812939            PS-01825845          PS-01831572

PS-01804549          PS-01813339            PS-01826469          PS-01831972

PS-01804837          PS-01813342            PS-01826601          PS-01832317

PS-01804933          PS-01815534            PS-01826733          PS-01832357

PS-01805566          PS-01818120            PS-01826770          PS-01832362

PS-01805614          PS-01818145            PS-01826787          PS-01832377

PS-01805712          PS-01818163            PS-01827087          PS-01832747

PS-01806558          PS-01818205            PS-01827786          PS-01833028

PS-01806576          PS-01823092            PS-01827798          PS-01833434

PS-01807247          PS-01823122            PS-01827810          PS-01833549

PS-01809258          PS-01823188            PS-01828437          PS-01833579

PS-01810284          PS-01823212            PS-01828509          PS-01833891

PS-01810314          PS-01823350            PS-01828515          PS-01833956

PS-01810438          PS-01823356            PS-01828533          PS-01833988

PS-01810450          PS-01823362            PS-01828545          PS-01834073

PS-01810462          PS-01823476            PS-01828551          PS-01834076



                    PUBLICLY FILED PER- STIPULATION
                                        19 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
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PS-01834198          PS-01839839            PS-01844497          PS-01853614

PS-01834283          PS-01839849            PS-01844577          PS-01853898

PS-01834373          PS-01839854            PS-01844593          PS-01853902

PS-01834437          PS-01842229            PS-01844809          PS-01859254

PS-01834543          PS-01842249            PS-01845394          PS-01859654

PS-01834791          PS-01842272            PS-01845398          PS-01860350

PS-01834877          PS-01842423            PS-01845406          PS-01860418

PS-01834887          PS-01842453            PS-01845414          PS-01861422

PS-01835426          PS-01842488            PS-01845446          PS-01861430

PS-01836032          PS-01842608            PS-01845501          PS-01861450

PS-01836637          PS-01842643            PS-01848304          PS-01861714

PS-01836812          PS-01843237            PS-01848316          PS-01862126

PS-01836872          PS-01843366            PS-01848637          PS-01863986

PS-01836971          PS-01843417            PS-01848835          PS-01864634

PS-01837658          PS-01843486            PS-01848909          PS-01864926

PS-01837663          PS-01843586            PS-01849405          PS-01865310

PS-01837817          PS-01843836            PS-01850102          PS-01865338

PS-01838179          PS-01843841            PS-01851434          PS-01865342

PS-01838304          PS-01843883            PS-01851442          PS-01865382

PS-01838511          PS-01843888            PS-01852381          PS-01865534

PS-01838541          PS-01843893            PS-01852994          PS-01866662

PS-01838642          PS-01843913            PS-01853486          PS-01866666

PS-01838791          PS-01843916            PS-01853490          PS-01870440

PS-01839167          PS-01844427            PS-01853538          PS-01870671

PS-01839227          PS-01844478            PS-01853598          PS-01870766



                    PUBLICLY FILED PER- STIPULATION
                                        20 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
                                                                          Preis
                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
                                   110-117   122-128ORDER
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PS-01870767          PS-01886114            PS-01886320          PS-01900138

PS-01870770          PS-01886117            PS-01886341          PS-01900174

PS-01870771          PS-01886147            PS-01886409          PS-01900633

PS-01870773          PS-01886173            PS-01886411          PS-01900668

PS-01885946          PS-01886174            PS-01886866          PS-01900749

PS-01885947          PS-01886177            PS-01886867          PS-01900911

PS-01885954          PS-01886179            PS-01886868          PS-01900986

PS-01885977          PS-01886201            PS-01890370          PS-01901244

PS-01885993          PS-01886202            PS-01895707          PS-01905871

PS-01885997          PS-01886204            PS-01896307          PS-01905873

PS-01886004          PS-01886205            PS-01897043          PS-01906082

PS-01886040          PS-01886206            PS-01897205          PS-01906083

PS-01886050          PS-01886207            PS-01897406          PS-01906084

PS-01886060          PS-01886209            PS-01897867          PS-01906086

PS-01886061          PS-01886212            PS-01897868          PS-01906110

PS-01886080          PS-01886217            PS-01897870          PS-01906111

PS-01886092          PS-01886243            PS-01897871          PS-01906119

PS-01886094          PS-01886249            PS-01897872          PS-01906221

PS-01886101          PS-01886251            PS-01898208          PS-01906412

PS-01886102          PS-01886256            PS-01898209          PS-01906414

PS-01886104          PS-01886259            PS-01900061          PS-01906416

PS-01886105          PS-01886272            PS-01900095          PS-01906818

PS-01886106          PS-01886295            PS-01900096          PS-01907104

PS-01886109          PS-01886302            PS-01900103          PS-01907112

PS-01886110          PS-01886313            PS-01900137          PS-01907174



                    PUBLICLY FILED PER- STIPULATION
                                        21 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
                                                                          Preis
                      TREAT
              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
                                   110-117   122-128ORDER
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PS-01907192          PS-01919189            PS-01972625          PS-01990073

PS-01907195          PS-01919190            PS-01973104          PS-01990162

PS-01907200          PS-01919227            PS-01973107          PS-01992902

PS-01907220          PS-01919228            PS-01973167          PS-01992906

PS-01907221          PS-01919229            PS-01974170          PS-01992911

PS-01907222          PS-01919275            PS-01974174          PS-01992912

PS-01907229          PS-01919367            PS-01974175          PS-01994116

PS-01907280          PS-01919378            PS-01974188          PS-01996807

PS-01907284          PS-01919400            PS-01977157          PS-01996808

PS-01907285          PS-01919410            PS-01977501          PS-01998539

PS-01907287          PS-01919412            PS-01978501          PS-02003878

PS-01908242          PS-01919493            PS-01978503          PS-02003898

PS-01912700          PS-01919925            PS-01979837          PS-02006689

PS-01912701          PS-01920085            PS-01980622          PS-02007512

PS-01912889          PS-01920086            PS-01983637          PS-02007515

PS-01912906          PS-01920110            PS-01985198          PS-02007517

PS-01917947          PS-01920158            PS-01985233          PS-02007541

PS-01918110          PS-01925681            PS-01985235          PS-02008082

PS-01918112          PS-01964392            PS-01985236          PS-02009655

PS-01918126          PS-01965061            PS-01985245          PS-02010964

PS-01918127          PS-01965353            PS-01985264          PS-02012431

PS-01918203          PS-01965572            PS-01985703          PS-02012828

PS-01918214          PS-01965956            PS-01985746          PS-02020369

PS-01919166          PS-01966408            PS-01988991          PS-02020370

PS-01919176          PS-01972618            PS-01990070          PS-02021491



                    PUBLICLY FILED PER- STIPULATION
                                        22 -        [ECF 2140]
     UNREDACTEDDoc
  19-23649-rdd  - CONTAINS
                     2169-1 OUTSIDE  PROFESSIONALS'
                              Filed 12/18/20   EnteredEYES ONLY 19:59:52
                                                       12/18/20 INFORMATION.
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              Declaration   SUBJECT
                          Exhibits    TO PROTECTIVE
                                   110-117   122-128ORDER
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PS-02021496          MB1099577

PS-02021500          DSF0019327

PS-02021501          DSF0073889

PS-02021552          MB0206612

PS-02026121          H54885-0001-
                     082955
PS-02026124
                     H54885-0001-
PS-02028635          058556

PS-02029355          H54885-0001-
                     058600
PS-02029407
                     H54885-0001-
PS-02029428          105162
PS-02031214          H54885-0001-
                     106127
PS-02031218
                     H54885-0001-
PS-02031222          106154
PS-02031370          H54885-0001-
                     106529
PS-02032595
                     H54885-0001-
PS-02036900
                     115568
PS-02039662
                     MB1172653_000
PS-02039663          02

MB1086525            PS-02012379

MB1095062            PS-02012546

MB1096574            PS-02012608

MB1096636

MB1096960

MB1096980

MB1097184



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                                        23 -        [ECF 2140]
   UNREDACTEDDoc
19-23649-rdd  - CONTAINS
                   2169-1 OUTSIDE  PROFESSIONALS'
                            Filed 12/18/20    EnteredEYES ONLY 19:59:52
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               PS-00002652              RSF00786557

               PS-00002865              RSF00786559

               PS-00002877              RSF00786581

               PS-00002898              RSF00787503

               PS-00002901              RSF00786594

               PS-00003029      RSF00068223_REPROD_00001

               PS-00003145              RSF00787512

               PS-00003150              RSF00787515

               PS-00003162              RSF00787519

               PS-00003166              RSF00787521

               PS-00003169              RSF00787524

               PS-00003178              RSF00787526

               PS-00003191      RSF00167156_REPROD_00001

               PS-00003205              RSF00787528

               PS-00003215              RSF00787530

               PS-00003243              RSF00787533

               PS-00003259      RSF00167178_REPROD_00001

               PS-00003269      RSF00476960_REPROD_00001

               PS-00004641              RSF00786608

               PS-00101514              RSF00785525

               PS-00101541              RSF00786640

               PS-00101542              RSF00785527



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               PS-00101553      RSF00477161_REPROD_00001

               PS-00101555      RSF00477163_REPROD_00001

               PS-00101951              RSF00787535

               PS-00104944              RSF00786649

               PS-00104945              RSF00786651

               PS-00104946              RSF00786653

               PS-00104947              RSF00786655

               PS-00104948              RSF00786657

               PS-00104949              RSF00786659

               PS-00104950              RSF00786661

               PS-00104953              RSF00786663

               PS-00129490              RSF00786667

               PS-00136866              RSF00786681

               PS-00813572              RSF00787560

               PS-01012344              RSF00786712

               PS-01042223              RSF00786740

               PS-01042225              RSF00786742

               PS-01042229              RSF00786744

               PS-01042235              RSF00786746

               PS-01051369              RSF00786747

               PS-01054901              RSF00785703

               PS-01055019              RSF00786749

               PS-01155890              RSF00787600




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               PS-01155897              RSF00787602

               PS-01155899              RSF00786853

               PS-01156216              RSF00787604

               PS-01156920              RSF00787608

               PS-01157620              RSF00786862

               PS-01160146              RSF00786863

               PS-01161412              RSF00786870

               PS-01161415              RSF00785722

               PS-01163678              RSF00786886

               PS-01163738      RSF00141540_REPROD_00001


               PS-01167881              RSF00787621

               RS0193139             RSF_OLK00069164

               RS0201369             RSF_OLK00069167

               RS0201387             RSF_OLK00069170

               RS0223313             RSF_OLK00069188

               RS0223315             RSF_OLK00069191

               RS0223316             RSF_OLK00069194

               RS0223946             RSF_OLK00069196

               RS0467985             RSF_OLK00069213

               RS0471000             RSF_OLK00069086

               RS0616477             RSF_OLK00069099

               RS0629951             RSF_OLK00069101

               RS0631121             RSF_OLK00069104



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               RS0642704             RSF_OLK00069215

               RS0642936             RSF_OLK00069217

               RS0643631             RSF_OLK00069219

               RS0793954             RSF_OLK00069221

               RS0795614             RSF_OLK00069225

               RS0798082             RSF_OLK00069465

               RS0798459             RSF_OLK00069227

               RS0804782             RSF_OLK00069229

               RS0804989             RSF_OLK00069467

               RS0805629             RSF_OLK00069232

               RS0805842             RSF_OLK00069469

               RS0806268             RSF_OLK00069236

               RS0806351             RSF_OLK00069471

               RS0807102             RSF_OLK00069242

               RS0807566             RSF_OLK00069476

               RS0808075             RSF_OLK00069244

               RS0808318             RSF_OLK00069478

               RS0809386             RSF_OLK00069246

               RS0809617             RSF_OLK00069482

               RS0809642             RSF_OLK00069249

               RS0809894             RSF_OLK00069252

               RS0810404             RSF_OLK00069484

               RS0811223             RSF_OLK00069255




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               RS0812848             RSF_OLK00069256

               RS0814527             RSF_OLK00069489

               RS0814559             RSF_OLK00069257

               RS0814771             RSF_OLK00069259

               RS0819771             RSF_OLK00069145

               RS0820389             RSF_OLK00069492

               RS0820564             RSF_OLK00069147

               RS0821174             RSF_OLK00069278

               RS0822005             RSF_OLK00069497

               RS0822348             RSF_OLK00069499

               RS0823803             RSF_OLK00069510

               RS0823891             RSF_OLK00069289

               RS0825151             RSF_OLK00069292

               RS0825550             RSF_OLK00069296

               RS0825652             RSF_OLK00069515

               RS0826079             RSF_OLK00069519

               RS0827867             RSF_OLK00069521

               RS0828390             RSF_OLK00069300

               RS0828834             RSF_OLK00069523

               RS0829066             RSF_OLK00069525

               RS0840322             RSF_OLK00069115

               RS0843253             RSF_OLK00069528

               RS0843651             RSF_OLK00069531




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               RS0843962             RSF_OLK00069306

               RS0844704             RSF_OLK00069533

               RS0844808             RSF_OLK00069150

               RS0845395             RSF_OLK00069308

               RS0845839             RSF_OLK00069071

               RS0847133             RSF_OLK00069311

               RS0847447             RSF_OLK00069318

               RS0847512             RSF_OLK00069320

               RS0855158             RSF_OLK00069534

               RS0857384             RSF_OLK00069537

               RS0857745             RSF_OLK00069539

               RS0858943             RSF_OLK00069543

               RS0859657             RSF_OLK00069545

               RS0861676             RSF_OLK00069548

               RS0861704             RSF_OLK00069551

               RS0863437             RSF_OLK00069554

               RS0869640             RSF_OLK00069557

               RS0880528             RSF_OLK00069563

               RS0880568      RSF_OLK00067751_REPROD_00001

               RS0880687             RSF_OLK00069122

               RS0881318             RSF_OLK00069342

               RS0881353             RSF_OLK00069345

               RS0889408             RSF_OLK00069348




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               RS0890245             RSF_OLK00069349

               RS0890453             RSF_OLK00069351

               RS0890706             RSF_OLK00069568

               RS0891281             RSF_OLK00069570

               RS0891841             RSF_OLK00069573

               RS0892087             RSF_OLK00069359

               RS0892284             RSF_OLK00069361

               RS0892907             RSF_OLK00069576

               RS0894000             RSF_OLK00069367

               RS0894145             RSF_OLK00069126

               RS0903404             RSF_OLK00069578

               RS0904105             RSF_OLK00069376

               RS0905234             RSF_OLK00069128

               RS0905238             RSF_OLK00069587

               RS0905738             RSF_OLK00069590

               RS0906186             RSF_OLK00069382

               RS0908384             RSF_OLK00069592

               RSM-147301            RSF_OLK00069385

               RSM-170247            RSF_OLK00069388

               RSM-251700            RSF_OLK00069390

               RSM-253797            RSF_OLK00069392

               RSM-254150            RSF_OLK00069614

               RSM-254200            RSF_OLK00069396




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               RSM-255006            RSF_OLK00069401

               RSM-268621            RSF_OLK00069405

               RSM-272619            RSF_OLK00069408

               RSM-302306            RSF_OLK00069143

               RSM-303516            RSF_OLK00069442

               RSM-309380            RSF_OLK00069445

                JS-116553               RSF00787414

               DSF0017267               RSF00786092

               DSF0018319               RSF00787240

               DSF0018582               RSF00787244

               DSF0021036               RSF00785877

               DSF0021165               RSF00787252

               DSF0021852               RSF00787260

               DSF0030323               RSF00786129

               DSF0030457               RSF00786135

               DSF0032294               RSF00787286

               DSF0033560               RSF00787302

               DSF0033563               RSF00787304

               DSF0033564               RSF00787305

               DSF0033566               RSF00787307

               DSF0033570               RSF00785533

               DSF0034339               RSF00787309

               DSF0034719               RSF00787312




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               DSF0034761               RSF00785885

               DSF0034774               RSF00785536

               DSF0034780               RSF00786149

               DSF0034782               RSF00787329

               DSF0034788               RSF00786151

               DSF0034795               RSF00786154

               DSF0034812               RSF00786156

               DSF0034813               RSF00786158

               DSF0034814               RSF00786161

               DSF0034817               RSF00786163

               DSF0034818               RSF00787331

               DSF0034820               RSF00786165

               DSF0034821               RSF00786167

               DSF0034823               RSF00786169

               DSF0034824               RSF00786171

               DSF0034828               RSF00786173

               DSF0034829               RSF00786175

               DSF0035617               RSF00786176

               DSF0035747               RSF00786177

               DSF0036345               RSF00786180

               DSF0037297               RSF00787340

               DSF0038472               RSF00786194

               DSF0039456               RSF00786196




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               DSF0039631               RSF00786198

               DSF0039639               RSF00786200

               DSF0039640               RSF00786203

               DSF0039647               RSF00786205

               DSF0039649               RSF00786210

               DSF0039662               RSF00786212

               DSF0039693               RSF00786215

               DSF0039707               RSF00786216

               DSF0039710               RSF00786218

               DSF0039732               RSF00786221

               DSF0039735               RSF00786224

               DSF0039741               RSF00786229

               DSF0039742               RSF00786231

               DSF0039743               RSF00786233

               DSF0039746               RSF00786235

               DSF0039747               RSF00786237

               DSF0039750               RSF00786239

               DSF0039759               RSF00786241

               DSF0039765               RSF00786243

               DSF0039768               RSF00786244

               DSF0039788               RSF00786246

               DSF0039789               RSF00786248

               DSF0039796               RSF00786250




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               DSF0039801               RSF00786251

               DSF0039818               RSF00786253

               DSF0041619               RSF00787359

               DSF0041846               RSF00787362

               DSF0042036               RSF00786263

               DSF0042415               RSF00785209

               DSF0042631               RSF00786265

               DSF0042632               RSF00785211

               DSF0042767       RSF00134418_REPROD_00001

               DSF0059252               RSF00787365

               DSF0059623               RSF00787368

               DSF0060476               RSF00787378

               DSF0061338               RSF00787381

               DSF0061534               RSF00787384

               DSF0061758               RSF00786300

               DSF0061861               RSF00787389

               DSF0061884               RSF00786303

               DSF0061886               RSF00786305

               DSF0062098               RSF00787394

               DSF0062167               RSF00786309

               DSF0062631               RSF00786317

               DSF0062655               RSF00787396

               DSF0062696               RSF00786320




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               DSF0062700               RSF00786322

               DSF0062718               RSF00786324

               DSF0062771               RSF00786329

               DSF0062797               RSF00786331

               DSF0063190               RSF00787398

               DSF0063386               RSF00787402

               DSF0063470               RSF00787404

               DSF0063549               RSF00785922

               DSF0063643               RSF00787406

               DSF0064210               RSF00785539

               DSF0064291               RSF00786337

               DSF0064850               RSF00786338

               DSF0064855               RSF00786341

               DSF0065988               RSF00787408

               DSF0065995               RSF00786342

               DSF0065997               RSF00786344

               DSF0065998               RSF00787410

               DSF0065999               RSF00786347

               DSF0066000               RSF00786350

             RSNY12187695               RSF00787059

             RSNY12188457               RSF00787061

             RSNY12190152               RSF00787062

             RSNY12190319       RSF00168980_REPROD_00001




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             RSNY12190590               RSF00787064

             RSNY12192836               RSF00787066

             RSNY12193741               RSF00787068

             RSNY12193753               RSF00787069

             RSNY12194132               RSF00787071

             RSNY12194683               RSF00787082

             RSNY12194818               RSF00787084

             RSNY12195338               RSF00787085

             RSNY12198197               RSF00787087

             RSNY12204747               RSF00787102

             RSNY12205188               RSF00787105

             RSNY12209298               RSF00787118

             RSNY12210325               RSF00787139

             RSNY12210732               RSF00787142

             RSNY12210746               RSF00787144

             RSNY12211266               RSF00787669

             RSNY12214463               RSF00787152

             RSNY12387947       RSF00473548_REPROD_00001




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                                     AL E XA ND E R B. L E E S
                                                Partner
                             55 Hudson Yards | New York, NY 10001-2163
                                           T: 212.530.5161
                                  alees@milbank.com | milbank.com


October 19, 2020


VIA EMAIL

Mitchell P. Hurley
Akin Gump Strauss Hauer & Feld LLP
One Bryant Park
New York, NY 10036

       Re:     In re Purdue Pharma L.P., No-19-23649 (Bankr. S.D.N.Y.)

Dear Mitch:

       I write in connection with your letter of October 12, which was transmitted at 8:15pm
two days before our briefs in opposition to the UCC’s privilege motions were due. We have now
had the opportunity to consider you letter and we respond as follows.

         We do not understand your distinction, for purposes of the work product doctrine,
between documents created by attorneys and documents created by others for or at the direction
of attorneys. Both categories of documents are protected, as we explain in our General
Challenges brief. As such, we see no value in re-reviewing thousands of documents (again) to
parse our privilege log entries further based on the distinction you are drawing, particularly at
this late stage when briefing on privilege disputes is all but complete. As to your assertion that
we have not carried our burden with respect to attorney-client privilege, we obviously do not
agree, as we have explained in our briefs on your pending motions. The Court will have to
decide this issue.

         We confirm that our re-review for relevance of the 4,300 privilege log entries included a
review for subjects listed in your September 24 letter. Likewise, while we did not know that you
specifically wanted us to consider your “good cause” arguments in conducting our re-review, we
have examined Exhibit 101 to your exceptions motion and confirm that our reviewers would
have considered documents “relevant,” for purposes of this re-review exercise, if they fell within
the topics listed there. We appreciate your willingness to withdraw challenges to documents that
are irrelevant.




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Mitchell P. Hurley
October 19, 2020                                                                         Page 2


        You are misremembering the course of events that led to our generating a document-by-
document privilege log. There was no unilateral decision made by us. Repeating our respective
recollections of these events again is unproductive, however, so we will move on.

        Finally, we continue to reject your revisionist history of how we ended up with a
scheduling stipulation. You moved to compel prematurely, while we were in the midst of
discussing many open issues and when our proposals to you remained unanswered. The Court,
rather than rule on your premature motion, appropriately directed you to continue meeting and
conferring, and we eventually reached agreement with you. This was not done out of a belief that
the UCC’s discovery program is reasonable or proportional to the needs of the case. The Debtors
have concisely explained in their pending brief and cross-motion why it is not. Nor did we reach
agreement with you out of any concern that we would lose a motion to compel if you had
continued to prosecute one. To the contrary, we acceded to your overbroad demands to spare the
Court the need to wade into discovery disputes – for which the Court praised the parties at the
last omnibus hearing – as we noted in our General Challenges brief.

         Your privilege motions and the lines of inquiry you and the non-consenting states have
pursued at depositions confirm that even with the extraordinarily wide net you have cast, you
still have not found any evidence of what you call the “extraordinary misconduct in which the
Sacklers are accused of engaging.” Far from justifying the no-stone-unturned strategy you have
insisted upon (notwithstanding our pleas and the Court’s repeated admonitions), the fact that you
have come up empty handed demonstrates that your approach to these cases has not been a
valuable use of estate resources – resources that otherwise could have been deployed to help
communities in need, as contemplated by the settlement framework.


                                             Very truly yours,



                                             /s/ Alexander B. Lees
                                             Alexander B. Lees


cc:      Marshall Huebner
         Jasmine Ball
         Kenneth Eckstein
         Andrew Troop




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               EXHIBIT 122




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               EXHIBIT 123




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               EXHIBIT 126




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EY_ID Custodian                        Participants                                                  FROM                                              To   Message_Sent_Date         Message                                                                         SOURCEBARCODE_CHATNUMBER   Attachments        DeletedDeleted - Instant Mes
                                                                owner) Redacted for GDPR Mortimer
1     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        5/5/2017 9:04:00 PM       Redacted for GDPR                                                               MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
2     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        5/5/2017 9:48:00 PM       Thank you for speaking with him and have a great bike trip!                     MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer                                                                                     A pleasure to chat to him he had great questions ready was organised. Hope
3     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 5/6/2017 9:31:00 AM       project comes out ok - I asked for a copy . X                                   MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
4     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        7/16/2017 11:16:00 AM     Tried calling                                                                   MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
5     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        7/16/2017 11:16:00 AM     Let me know when you are free to speak                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer                                                                                    Looked at the weather forecast for Gstaad for this week and it is calling for
6     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        7/16/2017 11:16:00 AM     thunderstorms and rain for the ENTIRE week.                                     MOUA0028-Chats
                                                                                                                                                                                      Trying to figure out what to do. We leave for Maine in 4 hours and pick the
                                                                (owner) Redacted for GDPR Mortimer                                                                                    bigger boys up tomorrow morning there and were meant to fly overnight
7     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        7/16/2017 11:17:00 AM     Monday to Gstaad arriving just as the rain starts.                              MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
8     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        8/4/2017 4:24:00 PM                                                                                       MOUA0028-Chats             IMG_5146.MOV.mov
                                                                owner) Redacted for GDPR Mortimer
9     Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 8/4/2017 8:42:00 PM       Too adorable ! Xxx                                                              MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
10    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 1:59:00 AM     How is it down there?                                                           MOUA0028-Chats

                                                                owner) Redacted for GDPR Mortimer                                                                                     Jackie and I are starting to think we may need to take the kids out of NYC for a
11    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 2:00:00 AM     period of time. Trying to figure out where would be best to go to.               MOUA0028-Chats
                                                                                                                                                                                      Don’t panic - am sure kids won’t be approached. You are very welcome to go to
                                                              m (owner) Redacted for GDPR Mortimer                                                                                    Gstaad ( not best time of year though) . Manu and Lhiza away for next few
12    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 10/24/2017 2:37:00 AM     weeks so bring a h’keeper .                                                      MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
13    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 2:38:00 AM     Let's speak tomorrow.                                                           MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
14    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 2:38:00 AM     Thank you for the offer.                                                        MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
15    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 10/24/2017 2:39:00 AM     Redacted for GDPR                                                               MOUA0028-Chats
                                                              m (owner) Redacted for GDPR Mortimer
16    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 2:53:00 AM  Redacted for GDPR                                                               MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer                                                                                 Pouring rain here same forecast all week! House great - Crystal Springs look it
17    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 10/24/2017 11:18:00 AM up xx -                                                                         MOUA0028-Chats

                                                                                                                                                                                      The plane has a maintenance issue that will prevent it from doing the flight
                                                                (owner) Redacted for GDPR Mortimer                                                                                    tomorrow (ugh yet another problem). What time do you/Marissa want to leave
18    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 9:15:00 PM     with it as they have two alternate options available for the trip tomorrow?  MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
19    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/24/2017 9:48:00 PM     ?                                                                               MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
20    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        10/30/2017 12:58:00 PM                                                                                    MOUA0028-Chats                                Yes
                                                                (owner) Redacted for GDPR Mortimer
21    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        11/6/2017 6:33:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
22    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        11/6/2017 6:33:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
23    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        11/6/2017 6:33:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
24    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 12/6/2017 7:35:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
25    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        12/6/2017 7:45:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
26    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 12/6/2017 7:46:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
27    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        12/6/2017 7:58:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                              m (owner) Redacted for GDPR Mortimer
28    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        12/6/2017 8:31:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
29    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        12/6/2017 8:31:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
30    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 12/6/2017 8:33:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
31    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        12/6/2017 8:52:00 PM      Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
32    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 2:48:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                owner) Redacted for GDPR Mortimer
33    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 2:48:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                              m (owner) Redacted for GDPR Mortimer
34    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 3/6/2018 3:01:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
35    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 3:02:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
36    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 3:03:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
37    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 3:04:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
38    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 3:04:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
39    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                                                                                 3/6/2018 4:33:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
40    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 4:59:00 PM       Redacted for Privilege                                                          MOUA0028-Chats
                                                                (owner) Redacted for GDPR Mortimer
41    Dame Theresa Sackler (CUS0001)   David Alfons Sackler                                          Redacted for GDPR Mortimer David Alfons Sackler        3/6/2018 4:59:00 PM       Redacted for Privilege                                                          MOUA0028-Chats




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